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                              EXHIBIT 4
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 1
                DECLARATION OF PROFESSOR JOHN J. DONOHUE
 2
 3   I, John J. Donohue, declare:
 4         1.     I am a professor and researcher, who has written extensively on crime,
 5   criminal justice policy, and the impact of gun policies. I make this declaration in
 6   support of Defendants’ opposition to Plaintiffs’ action challenging Cook County’s
 7   regulations of assault weapons and high-capacity magazines. This declaration is
 8   based on my own personal knowledge and experience, and if called as a witness, I
 9   could and would testify competently to the truth of the matters discussed in this
10   declaration. All opinions contained herein are made pursuant to a reasonable degree
11   of professional certainty.
12         2.
13                      BACKGROUND AND QUALIFICATIONS
14         3.     I am the C. Wendell and Edith M. Carlsmith Professor of Law at
15   Stanford Law School. (A copy of my complete cv is attached as Exhibit A.) After
16   earning a law degree from Harvard and a Ph.D. in economics from Yale, I have
17   been a member of the legal academy since 1986. I have previously held tenured
18   positions as a chaired professor at both Yale Law School and Northwestern Law
19   School. I have also been a visiting professor at a number of prominent law schools,
20   including Harvard, Yale, the University of Chicago, Cornell, the University of
21   Virginia, Oxford, Toin University (Tokyo), St. Gallens (Switzerland), and Renmin
22   University (Beijing).
23         4.     At Stanford, I regularly teach a course on empirical law and economics
24   issues involving crime and criminal justice, and I have previously taught similar
25   courses at Yale Law School, Tel Aviv University Law School, the Gerzensee Study
26   Center in Switzerland, and St. Gallen University School of Law in Switzerland, and
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                      Declaration of Professor John J. Donohue (1:2 l-cv-04595)
                                                             VIRAMONTES 003479
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 1   will teach such a course at the Universidad del Rosario in Bogota, Colombia in
 2   June 2020.
 3         5.     Since gun crime is such an important aspect of overall American
 4   crime, my courses evaluate both the nature of gun regulation in the United States
 5   and the impact of gun regulation on crime. This topic is an important part of my
 6   research, about which I have published extensively (as reflected in my c.v.). I have
 7   also consistently taught courses on law and statistics for two decades.
 8         6.     I am a Research Associate of the National Bureau of Economic
 9   Research, and a member of the American Academy of Arts and Sciences. I was a
10   Fellow at the Center for Advanced Studies in Behavioral Sciences in 2000-01 and
11   served as the co-editor (handling empirical articles) of the American Law and
12   Economics Review for six years. I have also served as the President of the
13   American Law and Economics Association and as Co-President of the Society of
14   Empirical Legal Studies.
15         7.     From 2011-2018, I served on the Committee on Law and Justice of the
16   National Research Council (“NRC”), which “reviews, synthesizes, and proposes
17   research related to crime, law enforcement, and the administration of justice, and
18   provides an intellectual resource for federal agencies and private groups.” (See
19   http://www7.national-academies.org/claj/ online for more information about the
20   NRC.)
21         8.     I filed an expert declaration in each of two cases challenging city
22   restrictions on the possession of large-capacity magazines: Fyock v. City of
23   Sunnyvale, United States District Court (N.D. Cal.), January 2014; Herrera v. San
24   Francisco, United States District Court (N.D. Cal.), January 2014.
25         9.     I also filed an expert declaration in a case involving a challenge to
26   Maryland’s restrictions on assault weapons and large-capacity magazines: Tardy v.
27   O’Malley, United States District Court (District of Maryland), February 2014. I
28   filed an expert declaration, and provided expert testimony, in response to a motion
                                                 2
                     Declaration of Professor John J. Donohue (1:2 l-cv-04595)
                                                            VIRAMONTES 003480
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 1   for a preliminary injunction in a case involving a challenge to New Jersey’s
 2   restrictions on large-capacity magazines in Association of New Jersey Rifle & Pistol
 3   Clubs, Inc. v. Grewal, No. 3:18–cv–10507–PGS–LHG (D.N.J.).
 4         10.    In all these cases, the relevant gun regulations were sustained in the
 5   district courts and upheld on appeal.
 6         11.    I also submitted an expert declaration on June 1, 2017 in a case
 7   involving a challenge to California’s restrictions on the carrying of weapons in
 8   public: Flanagan v. Becerra, Case No. 2:16-cv-06164-JAK-AS, United States
 9   District Court (C.D. Cal.); expert declarations on June 4, 2017 and June 16, 2017 in
10   two separate cases challenging California’s ban on the possession of large-capacity
11   magazines: Duncan v. Becerra, Case No. 17-cv-1017-BEN-JLB, United States
12   District Court (S.D. Cal.), and Weise v. Becerra, Case No. 2:17-cv-00903-WBS-
13   KJN, United States District Court (E.D. Cal.); and expert declarations on October 25,
14   2018 and November 21, 2018 in Rupp v. Becerra, Case No. 8:17-cv-00746-JLS-JDE,
15   United States District Court (E.D. Cal.), and in January 2020 in Miller v. Becerra,
16   Case No. 19-cv-1537-BEN-JLB, United States District Court (S.D. Cal.), two cases
17   challenging California’s restrictions on rifles classified as assault weapons. I also
18   provided live expert witness testimony in Miller v. Becerra in October 2020. On June
19   2, 2021, I submitted an expert report on behalf of the state of California in Jones v.
20   Bonta, Case No. 3:19-cv-01226-L-AHG, United States District Court (S.D. Cal.),
21   which involved a challenge to age-based restrictions on sale of guns to those under
22   21.
23         12.    I filed an expert declaration in October 2018 in a case involving a

24   challenge to Vermont’s restrictions on large-capacity magazines in Vermont

25   Federation of Sportsmen’s Clubs v. Birmingham, Case No. 224-4-18 Wncv (Vermont

26   Superior Court, Washington Unit). I also filed an expert declaration in Chambers v.

27   City of Boulder, Case No. 2018CV30581, in the District Court of Boulder County in

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                                                 3
                     Declaration of Professor John J. Donohue (1:2 l-cv-04595)
                                                            VIRAMONTES 003481
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 1   September 2020, involving a challenge to the City of Boulder’s restrictions on assault
 2   weapons.
 3         13.    At the request of the United States Department of Justice, I filed an
 4   expert declaration in July 2020 and testified at trial in April 2021 in a case arising out
 5   of the Sutherland Springs mass shooting that killed 26 in November 2017: Holcombe,
 6   et al. v. United States, Case No. 5:18-CV-555-XR (W.D. Tex.).
 7         14.    I was the main author of the Brief of Amici Curiae Social Scientists and
 8   Public Health Researchers in Support of Respondents, which was submitted to the
 9   United States Supreme Court on September 21, 2021 in New York State Rifle & Pistol
10   Association v. Bruen, Case No. 20-843.
11         15.    On January 24, 2022, I submitted an expert declaration in Worth v.
12   Harrington, a lawsuit in the District of Minnesota (Case No. 21-cv-1348) challenging
13   how Minnesota regulates the concealed carry of firearms by individuals aged 18 to
14   20. I was deposed in this case on March 28, 2022. On May 31, 2022, I submitted an
15   expert declaration in Meyer v. Raoul, a lawsuit in the Southern District of Illinois
16   (Case No. 21-cv-518-SMY) challenging how Illinois regulates the concealed carry
17   of firearms by individuals aged 18 to 20.
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                              SUMMARY OF CONCLUSIONS
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           16.    Assault rifles are weapons that are disproportionately used in public
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     mass shootings and which facilitate an even more disproportionate amount of death
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     and casualties in these tragic events than any other firearm or weaponry. The
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     problem of public mass shootings in the United States is a serious and worsening
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     national problem that imposes substantial burdens on the American public far
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     beyond the growing numbers of dead and injured victims that are besieged every
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     year. Since so many of these shootings are committed (or made possible) by
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     previously law-abiding citizens with no basis under current law to prevent them
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                      Declaration of Professor John J. Donohue (1:2 l-cv-04595)
                                                             VIRAMONTES 003482
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 1   from possessing firearms and since such a large proportion of the mass shooters die
 2   in the course of their deadly massacres, improved background checks and increased
 3   criminal penalties alone cannot adequately address this growing problem.
 4   Moreover, the empirical evidence indicates that another possible policy response –
 5   allowing increased gun carrying by the untrained public – rarely generates any
 6   benefit by stopping public mass shootings and is indeed self-defeating since it
 7   generates substantial increases in violent crime.1
 8          17.    It is a sound, evidenced-based, and longstanding harm-reducing
 9   strategy virtually uniformly embraced throughout the developed world for
10   governments to place constraints on weaponry that exceeds a certain level of
11   deadliness that is inappropriate for civilian use because of its substantial social cost.
12   Restrictions on weaponry most suitable for battlefield use (and unsuitable for
13   civilian self-defense) – such as those prohibited under Cook County’s assault
14   weapons ban – sit comfortably in this appropriate regulatory approach and can be
15   expected to reduce deaths and injury from gun violence. Indeed, gun massacres fell
16   substantially during the ten years of the federal assault weapons ban, and then rose
17   sharply when the ban was lifted in 2004. FBI data show that the problem of active
18   shooters inflicting mayhem on the public has been rising substantially since the end
19   of the federal assault weapons ban.
20          18.    One of the factors that led to the selection of assault rifles for use by
21   the U.S. military was that they could generate such devastating and lethal wounds
22   on the battlefield. This very fact underscores why any serious effort to reduce the
23
24          1 See Donohue, John, Abhay Aneja, and Kyle Weber, 2019, “Right-to-Carry Laws and

     Violent Crime: A Comprehensive Assessment Using Panel Data and a State-Level Synthetic
25   Control Analysis,” Journal of Empirical Legal Studies,
26   https://onlinelibrary.wiley.com/doi/full/10.1111/jels.12219. The amicus brief submitted to the
     United States Supreme Court on behalf of “Social Scientists and Public Health Researchers in
27   Support of Respondents” in New York State Rifle & Pistol Association v. Bruen, September 21,
     2021, further discusses the evidence that right-to-carry laws increase violent crime, citing 14
28   studies that have so found in the last four years alone.
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                          Declaration of Professor John J. Donohue (1:2 l-cv-04595)
                                                                 VIRAMONTES 003483
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 1   death toll and the proliferation of the damaging wounds from mass shootings would
 2   seek to remove these weapons from the arsenal available to those who would turn
 3   them on the public.
 4         19.    Prior and existing assault weapon bans have been effective at reducing
 5   death and casualties. Moreover, bans on assault weapons have little or no effect on
 6   the ability of individuals to possess weapons for self-defense in the home but
 7   should have a restraining impact on the effectiveness of those who have the
 8   criminal intent to kill as many individuals as possible. The assault weapons ban is
 9   thus well-tailored to limit the behavior of criminals engaging in the most dangerous
10   forms of violent criminal behavior, without impairing the defensive capabilities of
11   law-abiding citizens. Indeed, these weapons can injure or kill third parties
12   hundreds of yards away, when the necessary range for self-defense in the home is
13   usually measured in feet. Moreover, to the extent these weapons impose greater
14   risks to law enforcement, one would expect that their presence would encumber and
15   endanger police, while diminishing police effectiveness in ways that would put
16   upward pressure on crime generally.
17         20.    The empirical evidence supports the conclusion that if, rather than
18   allowing the federal assault weapons ban to lapse in 2004, the country had moved
19   to a more complete ban, many of the gun tragedies of recent years would have been
20   far less deadly and damaging to countless individuals who have been maimed and
21   injured throughout the United States. Cook County’s ban on assault weapons is one
22   tool in the important governmental effort to reduce the likelihood that Cook County
23   residents will be killed in mass shootings by making it incrementally harder for
24   prospective mass shooters to equip themselves with weapons that are both uniquely
25   appealing to their criminal aspirations as well as uniquely designed to aid in their
26   homicidal rampages.
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                      Declaration of Professor John J. Donohue (1:2 l-cv-04595)
                                                             VIRAMONTES 003484
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 1          21.    Most Americans do not own guns, and most Americans who do own
 2   guns do not own assault weapons. Both statements are particularly true for Cook
 3   County residents.
 4          22.    The fact that most Americans favor bans on assault weapons
 5   underscores the fact that only a relatively small minority of Americans owns or
 6   values these weapons.
 7        23.      Yet despite the growing problem of public mass shootings in the
 8   United States, the strong evidence that the federal assault weapons ban reduced
 9   deaths from public mass shootings, and two decisions of the 7th Circuit Court of
10   Appeals holding that the result they seek is contrary to established federal law in
11   this Circuit,2 the Plaintiffs assert they have a right, found in the Second Amendment
12   that was adopted in 1791, to elevate the threat to residents of Cook County by
13   allowing unencumbered access to modern weaponry of increasingly deadly power
14   unimaginable in Colonial America that will be of greatest value to those bent upon
15   mass murder. As the noted historian Saul Cornell has observed, such “Gun rights
16   advocates seem to have forgotten that the most important right in the pantheon of
17   eighteenth-century liberties was the right to representation and its concomitant
18   power to enact laws for the public good.”3
19          24.    The current level of assault weapons in circulation in the nation has no
20   bearing on the ability of Cook County to address the socially damaging and
21   worsening problem of public mass shooting. A federal ban on assault weapons did,
22   and could in the future, significantly curtail mass shooting deaths by limiting the
23   number of assault weapons in circulation.
24
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26          2
             Wilson v. Cook County, 937 F.3d 1028 (7th Cir. 2019) and Friedman v. City of Highland
     Park, 784 F.3d 406 (7th Cir. 2015).
27          3 Saul Cornell, “ Guns and Lattes: Lethal Analogies and the Future of the Second

     Amendment,” December 20, 2019, https://firearmslaw.duke.edu/2019/12/guns-and-lattes-lethal-
28   analogies-and-the-future-of-the-second-amendment/.
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                        Declaration of Professor John J. Donohue (1:2 l-cv-04595)
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 1                                            OPINIONS
 2          25.    While the precise number of Americans who own assault weapons
 3   nationally is uncertain,4 it is clear that most gun owners do not possess these types
 4   of weapons. First of all, most Americans do not own guns – 70 per cent of adults
 5   do not own any firearm according to recent survey data.5
 6          26.    Second, since assault weapons are only a small fraction of the overall
 7   gun supply in the United States, it is clear that most Americans who do own guns
 8   do not own assault weapons.
 9          27.    Only a relatively small minority of Americans owns assault weapons,
10   and most Americans recognize that assault weapons are not important to their self-
11   defense.
12          28.    The support for bans on assault weapons has remained consistently
13   strong over the last five years. A poll conducted for the New York Times from
14   June 17-20, 2016 among a national sample of 1975 registered voters found that 67
15   percent of Americans favored such a ban.
16          29.     Less than a year later, a Pew Research Center survey among 3,930
17   adults (conducted from March 13-27 and April 4-18, 2017) again showed broad
18   opposition to assault weapons.6
19
            4 Kate Irby, “Nobody knows exactly how many assault rifles exist in the U.S. – by
20   design,” McClatchy, February 23, 2018, https://www.mcclatchydc.com/news/nation-
     world/national/article201882739.html. References to the number of guns manufactured in or
21   imported into the U.S. are misleading since they fail to distinguish between guns provided to the
22   military or guns subsequently transported, legally or illegally, to other countries. We know that
     the U.S. is a major supplier of assault weapons to drug gangs in Mexico, Brazil, and throughout
23   Latin America.
             5 This is the finding of a June 2021 survey of 10,606 adults by the Pew Research Center.
24   https://www.pewresearch.org/fact-tank/2021/08/04/wide-differences-on-most-gun-policies-
     between-gun-owners-and-non-owners-but-also-some-agreement/.
25           6 Ruth Igielnik and Anna Brown, “Key takeaways on Americans’ views of guns and gun

26   ownership,” Pew Research Center, June 22, 2017, http://www.pewresearch.org/fact-
     tank/2017/06/22/key-takeaways-on-americans-views-of-guns-and-gun-ownership/. The authors
27   noted that this poll was conducted prior to two of the five deadliest mass shootings in modern US
     history, which occurred in October and November of 2017: “a staggering [59] people were killed
28                                                                                    (continued…)
                                                    8
                        Declaration of Professor John J. Donohue (1:2 l-cv-04595)
                                                                 VIRAMONTES 003486
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 1          30.    The Pew survey results released on October 18, 2018 again showed
 2   that 67 percent of Americans favored bans on assault weapons and on high-capacity
 3   magazines.7 The same Pew survey based on interviews from September 3 – 15,
 4   2019 showed that 69 percent of Americans supported a ban on assault weapons.8 A
 5   national survey by Pew Research Center, conducted from April 5-11, 2021 among
 6   5,109 adults found that 63 percent of Americans supported a ban on assault
 7   weapons.9
 8          31.    Importantly, the New York Times also polled “32 current or retired
 9   academics in criminology, public health and law, who have published extensively
10   in peer-reviewed academic journals on gun policy” to ask them what measures
11   would be most effective in dealing with America’s mass shooting problem, and an
12   assault weapons ban was deemed overall by this panel to have the highest level of
13   effectiveness among the 20 evaluated measures.10
14   Weapons Restrictions Have Historically Followed Growing Criminal Abuse
15          32.    Restrictions on weaponry have historically followed growing criminal
16   abuse and social harm, rather than at the time these weapons are first introduced.
17   This makes sense because it is not always clear at the outset which inventions will
18
19   and more than 500 were hurt when [Steven Paddock] opened fire on a Las Vegas concert and at
     least 26 people were killed in a Texas church” only five weeks later.
20            7 Pew Research Center, “Gun Policy Remains Divisive, But Several Proposals Still Draw

21   Bipartisan Support,” October 18, 2018, http://www.people-press.org/2018/10/18/gun-policy-
     remains-divisive-but-several-proposals-still-draw-bipartisan-support/. This survey had 5307
22   respondents and was conducted from September 24 through October 7, 2018.
              8
                Katherine Schaeffer, “Share of Americans who favor stricter gun laws has increased
23   since 2017,” https://www.pewresearch.org/fact-tank/2019/10/16/share-of-americans-who-favor-
     stricter-gun-laws-has-increased-since-2017/ (October 16, 2019).
24          9
            https://www.pewresearch.org/politics/2021/04/20/amid-a-series-of-mass-
     shootings-in-the-u-s--gun-policy-remains-deeply-divisive/.
25          10 The list of 32 academics included not only me, but also many strong gun-rights

26   supporters, including John Lott, Gary Kleck, David Kopel, Carlisle E. Moody, and Eugene
     Volokh. See, Margot Sanger-Katz And Quoctrung Bui, “How to Reduce Mass Shooting Deaths?
27   Experts Rank Gun Laws,” New York Times, October 5, 2017,
     https://www.nytimes.com/interactive/2017/10/05/upshot/how-to-reduce-mass-shooting-deaths-
28   experts-say-these-gun-laws-could-help.html.
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                         Declaration of Professor John J. Donohue (1:2 l-cv-04595)
                                                                 VIRAMONTES 003487
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 1   lead to adverse impacts on public safety. Frequently, the dangers of products and
 2   practices fly below the radar until their proliferation generates sufficient social
 3   damage to enable the public and the scientific community to become aware of the
 4   full extent of their social harm.
 5          33.    The first group of state restrictions on weapons deemed inappropriate
 6   for civilian use were adopted in the 1920s and 1930s after weapons like the Tommy
 7   gun became a preferred weapon for gangsters.11 More recently, the sharp increases
 8   in crime in the 1980s as more powerful weaponry started to proliferate led to a
 9   second round of restrictions limiting magazine capacity and banning assault
10   weapons, including the now expired ten-year federal assault weapons ban of 1994-
11   2004.12 State restrictions continued to be adopted following the expiration of the
12   federal ban, often in direct response to public mass shootings.
13   The Problem of Public Mass Shootings in the United States Is Serious
14          34.    Any discussion of assault weapons must address the tragic problem of
15   public mass shootings. The complaint in this case tries to follow the misguided path
16   of trying to diminish the importance of governmental action to address this problem
17   by arguing that the deaths from mass shootings are only a relatively small portion
18   of the total homicides in the United States.
19          35.    In furtherance of this approach, the complaint offers the following
20   misleading statement (in paragraph 38):
21          Indeed, according to FBI statistics in 2019 there were only 364 homicides known to be
22          committed with rifles of any type, compared to 6,368 with handguns , 1,476 with knives
            or other cutting instruments, 600 with personal weapons (hands, feet, etc.), and 397 with
23          blunt objects.

24
25
26          11 See Robert J. Spitzer, Gun Law History in the United States and Second Amendment

27   Rights, 80 Law & Contemp. Probs. 55, 68 (2017).
             12 See 1990 N.J. Sess. Law Serv. 32 (West); Haw. Rev. Stat. Ann § 34–(8); Pub. L. 103–
28   322, § 110103 (Sep. 13, 1994).
                                                     10
                         Declaration of Professor John J. Donohue (1:2 l-cv-04595)
                                                                 VIRAMONTES 003488
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 1   The statement is marred by two massive errors. First, it ignores the complete information from its
 2   FBI source -- Expanded Homicide Table 8, Crime in the United States (FBI 2019), https://bit.ly
 3   /3IHABwE – which indicates there were also 200 murders with shotguns, 45 murders with "other
 4   guns," and 3281 murders with "firearms, type not stated" in 2019. In other words, even for the
 5   10,258 firearm murders counted for 2019 in Plaintiffs’ UCR data source, they have no
 6   information about what gun was used in 3326 of these murders, which severely undermines the
 7   value of this FBI data as shown in Table 1 below.
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 9
10                                                Table 1
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                        Declaration of Professor John J. Donohue (1:2 l-cv-04595)
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 1         36.      Second, while the Plaintiffs ignore the complete FBI data that they
 2   purport to rely on, even the full FBI data is severely inadequate since it fails to
 3   capture more than 4000 other firearm homicides in 2019. The problem lies in the
 4   fact that police departments are not required to report data to the FBI, so the FBI
 5   data the Plaintiffs reference is not only inadequate in not identifying the type of
 6   lethal firearm in a very large number of the cases it knows about, but it also
 7   completely ignores an even larger number of firearm homicides. We know this
 8   because the CDC data on homicide is based on mandatory reporting requirements
 9   for all death certificates, which indicate if the homicide was caused by a firearm.13
10   As Table 2 reveals, many thousands of firearm homicides occurred but are not even
11   captured in the “full” FBI data. When one compares in the table below the CDC
12   total of 14,414 firearm homicides to the 6932 homicides that the Plaintiffs based
13   their numbers on, one sees that their data is grossly deficient and should not be
14   relied upon. A more relevant, and sobering statistic is that the percentage of firearm
15   homicides committed with long guns has grown steadily since 1993, doubling from
16   17.9 percent in that year to 35.6 percent in 2018.14
17         37.      As a final exclamation point on the inadequacy of Plaintiffs’ 2019
18   data, one should note that firearm homicides spiked 35 percent between 2019 and
19   2020, rendering their flawed 2019 accounting even less meaningful. It is also
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     13
22     The superiority of the CDC data on firearm homicide over the data that the Plaintiffs provide is
     well known by researchers of gun violence, as described in this Bureau of Justice Statistics report:
23   “Homicide data in this report are primarily from the Web-based Injury Statistics Query and
     Reporting System (WISQARS) Fatal Injury Reports developed from the National Vital Statistics
24   System (NVSS) of the National Center for Health Statistics (NCHS), a part of the Centers for
     Disease Control and Prevention. NVSS mortality data are produced from standardized death
25
     certificates and include causes of death reported by attending physicians, medical examiners, and
26   coroners…. Generally, the NVSS produces more accurate information than the SHR on annual
     homicide rates at the national level ….” Grace Kena and Jennifer L. Truman, “Trends and
27   Patterns in Firearm Violence, 1993–2018,” Bureau of Justice Statistics Special Report (April
     2022), https://bjs.ojp.gov/content/pub/pdf/tpfv9318.pdf.
28           14
                Id.
                                                      12
                          Declaration of Professor John J. Donohue (1:2 l-cv-04595)
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 1   worth noting that in 2020 firearms were used in 79 percent of homicides,
 2   which was the greatest proportion ever, up from 74 percent in 2019.15
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27             Jennifer Mascia, “It’s Official: Gun Deaths Hit an All-Time High in 2020,” The Trace,
     Jan. 7, 2022.
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                        Declaration of Professor John J. Donohue (1:2 l-cv-04595)
                                                                  VIRAMONTES 003491
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 1                                             Table 2
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17         39.    Not only is the general ploy to minimize the number of deaths caused
18   by assault weapons and firearms equipped with high-capacity magazines based in
19   this case on Plaintiffs’ wholly inadequate data, but the entire enterprise is
20   misguided for three additional reasons: 1) the deaths and injuries caused by mass
21   shootings are increasing at an alarming pace, 2) the social harm from these
22   traumatic events is far larger than the mere numerical casualty counts, and 3) the
23   incessant efforts to enhance the deadliness of firearms to increase gun sales means
24   that, if this deadly arms race is not restrained, mass shootings with deaths of many
25   hundreds of individuals may well be our fate. This growing menace cannot be
26   effectively addressed without concerted and effective governmental action,
27   including bans on assault weapons and high-capacity magazines. I discuss these
28   issues further below.
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                      Declaration of Professor John J. Donohue (1:2 l-cv-04595)
                                                             VIRAMONTES 003492
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 1   The Growing Problem of Public Mass Shootings
 2          40.      Although the long-term secular trend in overall crime has been benign
 3   over the last 25 years, the opposite is true for the trend in public mass shootings. As
 4   the Third Circuit stated in upholding New Jersey’s restrictions on high-capacity
 5   magazines, “plaintiffs attempt to discount the need for [governmental weaponry
 6   restrictions] by describing mass shootings as rare incidents” gives insufficient
 7   weight “to the significant increase in the frequency and lethality of these incidents.”
 8   Association Of New Jersey Rifle and Pistol Clubs v. Attorney General of New
 9   Jersey (3d Cir., December 5, 2018).
10          41.      According to a report of the Congressional Research Service, there
11   were an average of 2.7 events public mass shootings per year in the 1980s rising to
12   an average of 4.5 events per year from 2010 to 2013.16 Since then things have only
13   gotten worse.
14          42.      Writing in May 2018, Louis Klarevas, an Associate Lecturer of Global
15   Affairs at the University of Massachusetts–Boston, noted:
16                “Last week's school shooting in Texas marks a new milestone in American history. It's
17                the first time we have ever experienced four gun massacres resulting in double-digit
18                fatalities within a 12-month period.
19                In October 2017, [59] were killed at a concert in Las Vegas. A month later, 26 were
20                killed at a church in Sutherland Springs, Texas. Earlier this year, 17 people lost their
21                lives at a high school in Parkland, Fl. And to this list we can now add the 10 people
22                who lost their lives at a high school in Santa Fe, Texas.”17
23
            16William J. Krouse & Daniel J. Richardson, Cong. Research Serv., R44126, Mass Murder

24   with Firearms: Incidents and Victims, 1999-2013, at 14-15 (2015),
     http://fas.org/sgp/crs/misc/R44126.pdf [http://perma.cc/RC4C-SP48]; Mark Follman, “Yes, Mass
25   Shootings Are Occurring More Often,” Mother Jones (Oct. 21, 2014, 5:05 am),
26   http://www.motherjones.com/politics/2014/10/mass-shootings-rising-harvard.
              17Louis Klarevas, “After the Santa Fe massacre, bury the 'good guy with a gun' myth:

27   Armed staffers won't deter shooters or keep kids safe,” New York Daily News, May 22, 2018,
     http://www.nydailynews.com/opinion/santa-fe-massacre-bury-good-guy-gun-myth-article-
28   1.4003952
                                                      15
                          Declaration of Professor John J. Donohue (1:2 l-cv-04595)
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 1          43.     In response to the growing list of gun tragedies, President Obama
 2   signed into law in 2013 the Investigative Assistance for Violent Crimes Act of
 3   2012, which granted authority to the U.S. Attorney General to assist in the
 4   investigation of “violent acts and shootings occurring in a place of public use” and
 5   in the investigation of “mass killings and attempted mass killings.”18
 6          44.     To better understand the nature of these threats, the Federal Bureau of
 7   Investigation (FBI) in 2014 initiated a study of “active shooter” incidents designed
 8   to identify the prevalence of and trend in these events, how they unfolded, what
 9   brought them to an end, and other details that would be of assistance to law
10   enforcement (Id.).19
11          45.     In 2018, the FBI announced that the active shooter problem in the
12   United States was growing ominously, as illustrated in the following figure:20
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            18Blair, J. Pete, and Schweit, Katherine W. (2014). “A Study of Active Shooter Incidents,

24   2000 - 2013.” Texas State University and Federal Bureau of Investigation, U.S. Department of
     Justice, Washington D.C. 2014, at 4.
25           19 Note that if an active shooter bent on inflicting widespread casualties is stopped quickly

26   enough, this incident would not appear in a count of “public mass shootings” that required, say, at
     least four individuals to be shot and killed, not counting the shooter (which is a standard, although
27   not the only, definition of a mass shooting).
             20 https://www.usatoday.com/story/news/2018/06/20/fbi-most-active-shooters-dont-have-
28   mental-illness-get-guns-legally/718283002/.
                                                        16
                         Declaration of Professor John J. Donohue (1:2 l-cv-04595)
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21         46.     At the time, I stressed that this problem would only be getting worse if
22   significant action was not taken to address it. Sadly, my predictions based on the
23   growing lethality of weaponry in the United States have been fulfilled. As bad as
24   the active shooter problem looked in 2018, it is considerably worse today, as seen
25   in the same FBI active shooter data now extended through 2021 in Figure 2. While
26   2017 was the peak of active shooter incidents at 30 up until that point, last year the
27   number more than doubled to 61!
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 1                                                Figure 2
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16          47.     The ominous and steep upward trend in the FBI data charting the
17   growth in active shooter incidents is unmistakable. Not surprisingly, the number of
18   mass shootings clearly is higher following the termination of the federal assault
19   weapons ban in 2004. In that year, the FBI counted 4 active shooter incidents in
20   which 14 died. Since then, the mayhem has accelerated so much that in 2021 the
21   FBI counted 61 active shooter incidents killing 103.21
22          48.     In addition to the well-documented increase in overall public mass
23   shootings in the United States, there has been an equally dramatic rise of these
24   events in school settings.22 Indeed, the authors of a recent study on mass school
25
26
            21
                FBI, “Active Shooter Incidents in the United States in 2021,” https://www.fbi.gov/file-
     repository/active-shooter-incidents-in-the-us-2021-052422.pdf/view.
27           22Antonis Katsiyannis, Denise K. Whitford, Robin Parks Ennis. Historical Examination of

     United States Intentional Mass School Shootings in the 20th and 21st Centuries: Implications for
28                                                                                     (continued…)
                                                    18
                        Declaration of Professor John J. Donohue (1:2 l-cv-04595)
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 1   shootings concludes that “More people have died or been injured in mass school
 2   shootings in the US in the past 18 years than in the entire 20th century.”23 The
 3   impact of the elevated stress experienced by students and parents across the country
 4   as the reality of America’s tragic mass shooting problem penetrates their
 5   consciousness is undeniable. While these horrendous gun massacres are relatively
 6   rare, each one harms tens of millions beyond those killed or wounded at the scene.
 7   What Public Policy Measures Can Address This Growing Menace?
 8          49.    Permitting “law-abiding citizens” to acquire assault weapons, as
 9   Plaintiffs urge, is not an effective public policy solution to the growing and very
10   serious problem of mass shootings.
11          50.    The FBI’s analysis of active shooters over age 18 found that 65
12   percent had no adult convictions prior to the active shooting event.24 In other
13   words, most active shooters are “law-abiding citizens” in the jargon of the
14   complaint in this case – until they launch their homicidal rampages. Moreover, the
15   FBI report found that only a tiny fraction would have qualified as “adjudicated
16   mental defectives” that would have been barred from possessing weapons.25 In
17   other words, the lack of a basis for prohibiting gun ownership under current law for
18   most active shooters means that tighter background checks would not have likely
19   blocked their homicidal objectives.
20
21
22
     Students, Schools, and Society. Journal of Child and Family Studies, 2018; DOI:
23   10.1007/s10826-018-1096-2.
             23Springer. "Rapid rise in mass school shootings in the United States, study shows:

24   Researchers call for action to address worrying increase in the number of mass school shootings
     in past two decades." ScienceDaily, 19 April 2018.
25   <www.sciencedaily.com/releases/2018/04/180419131025.htm>.
             24
26              Silver, J., Simons, A., & Craun, S. (2018). A Study of the Pre-Attack Behaviors of
     Active Shooters in the United States Between 2000 – 2013. Federal Bureau of Investigation, U.S.
27   Department of Justice, Washington, D.C. 20535.
             25 The Gun Control Act of 1968 prohibits gun possession by felons and adjudicated
28   “mental defectives” (18 U.S.C. §922 (d) (4) 2016).
                                                       19
                           Declaration of Professor John J. Donohue (1:2 l-cv-04595)
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 1          51.     The Wall Street Journal analyzed data from the 32 school shootings
 2   since 1990 with at least three victims dead or injured.26 In 25 cases, the shooters
 3   were in their teens or younger. Of the 20 cases in which information was available,
 4   17 of the shooters obtained their guns from their home or a relative. In other words,
 5   teens who are not eligible to possess assault weapons may take weapons from
 6   relatives who legally possess assault weapons in the home to commit mass
 7   shootings.
 8          52.    Nor can we hope to limit these horrific crimes by elevating the
 9   probability of apprehending mass shooters once their crime is completed since
10   almost all mass killers are either captured, commit suicide, or are killed at the
11   scene.27 Tellingly, the recent 18-year-old Buffalo shooter, who killed 10 using the
12   same weapon as the Sandy Hook shooter — a Bushmaster XM-15 semiautomatic
13   rifle – had written, “I am well aware that my actions will effectively ruin my life. If
14   I’m not killed during the attack I will go to prison for an inevitable life sentence.” 28
15          53.    Indeed, it was the availability of weapons to these individuals that
16   enabled them to initiate such deadly attacks. Both common sense and consistent
17   empirical evidence show that there is a strong instrumentality effect in violent
18   activity. Attacks with fists are less dangerous than attacks with knives which in turn
19   are less dangerous than attacks with guns.
20          26 Tawnell D. Hobbs, “Most Guns Used in School Shootings Come From Home,” (April

21   5, 2018), https://www.wsj.com/articles/in-school-shootings-most-guns-come-from-home-
     1522920600.
22          27 According to the FBI, in 156 of the 160 episodes, the mass shooter was either captured,

     committed suicide (64 cases), or was killed (30 cases). Blair, J. Pete, and Schweit, Katherine W.
23   (2014). “A Study of Active Shooter Incidents, 2000 - 2013.” Texas State University and Federal
24   Bureau of Investigation, U.S. Department of Justice, Washington D.C. 2014. Of course, those
     who are captured alive are already punished as severely as the law allows, and the abundant
25   number of mass shootings in Texas and Florida highlights the inefficacy of the death penalty in
     addressing this problem.
26          28
               Ashley Parker, Tyler Pager, and Colby Itkowitz, “From Sandy Hook to Buffalo and
27   Uvalde: Ten years of failure on gun control,” Washington Post, May 22, 2022; Jesse
     McKinley, Jonah E. Bromwich, Andy Newman and Chelsia Rose Marcius, “Buffalo Suspect
28   Planned Attack for Months, Online Posts Reveal,” The New York Times, May 16, 2022.
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                         Declaration of Professor John J. Donohue (1:2 l-cv-04595)
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 1         54.       Decades of research has shown that there is a considerable variation in
 2   the survivability of assault depending on the instrumentality employed. A seminal
 3   1972 study by UC Berkeley Professor Frank Zimring found “that the outcome of
 4   gun assaults had a large random element, and that the power of the firearm was one
 5   systematic factor influencing the likelihood that an individual with a gunshot injury
 6   would survive.”29
 7         55.       A careful study by Anthony Braga and Phil Cook in 2018 has
 8   powerfully confirmed this instrumentality effect. Braga and Cook examined the
 9   files of 511 gunshot victims kept by the Boston Police Department and found that
10   survivability from gunshot wounds varied considerably based on attributes of the
11   weapon and ammunition that generated the wound. Specifically, the death rate
12   from handgun assault injuries increased substantially as the caliber of the firearm
13   increased – even though the caliber was not correlated with observable indicators of
14   the intent and determination to kill by the shooter. The shooter’s use of a medium
15   caliber handgun (.38, .380, and 9 mm) more than doubled the odds that the
16   wounded victim would die compared to small caliber handguns (.22, .25, and .32).
17   Large caliber handguns (.357 magnum, or greater) more than doubled the odds of
18   death compared to medium caliber handguns.
19         56.      The authors conclude that:
20               "The results here support the view that the intrinsic power and lethality of
21               the weapon had a direct effect on the likelihood that a victim of a criminal
22               shooting died. For Boston, in the period studied here, simply replacing
23               larger-caliber guns with small-caliber guns with no change in location or
24               number of wounds would have reduced the gun homicide rate by 39.5
25               percent. It is plausible that larger reductions would be associated with
26               replacing all types of guns with knives or clubs (p.8, Braga and Cook
27          29
                 The description of the Zimring study comes from Braga and Cook (2018), infra, note
     30.
28
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                         Declaration of Professor John J. Donohue (1:2 l-cv-04595)
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 1              2018)." 30
 2          57.     Of course, the conclusion of the Braga and Cook study -- that
 3   switching to less deadly firearm options could reduce firearm deaths – applies
 4   directly to bans on assault weapons and high-capacity magazines.
 5          58.     Note the contrast of a school attack in China that occurred only hours
 6   before Adam Lanza used an assault weapon armed with 30-round magazines to kill
 7   26: while 22 children and an adult were injured in the attack in China, no one died
 8   – a likely result, at least in part, of the attacker using a knife instead of an assault
 9   weapon.31
10          59.     In civilian life, using an assault weapon for self-defense is over-kill, as
11   an emergency room doctor treating the pulverized victims from the Parkland
12   shooting describes.32 The CBS show 60 Minutes also provided a dramatic
13   experiment to illustrate the far more destructive impact on human tissue of being
14   shot with an AR-15 than a handgun, as seen in the referenced video “What Makes
15   the AR-15 so Deadly?”33
16        60.       One of the unfortunate consequences of the continuing advances in the
17   lethality and power of modern firearms is that without appropriate government
18   action the dangers posed by civilian weaponry will continue to outpace any
19   legitimate crime-reducing benefit that firearms might provide. The lesson of the
20   November 2017 massacre at the Sutherland Springs Baptist Church in Texas
21   highlights the growing dangers. The killer in that case used an AR-15 that was
22   modified to include a laser scope and features that could allow large capacity
23
            30 Anthony A. Braga and Philip J. Cook, “The Association of Firearm Caliber With

24   Likelihood of Death From Gunshot Injury in Criminal Assaults,” JAMA Netw
     Open. 2018;1(3):e180833. doi:10.1001/jamanetworkopen.2018.0833.
25           31 Mallory Ortberg, “Man Arrested in China After Knife Attack on Students,”

26   http://gawker.com/5968740/man-arrested-in-china-after-knife-attack-on-students.
             32 Heather Sher, “What I Saw Treating the Victims from Parkland Should Change the

27   Debate on Guns,” The Atlantic, February 2018, https://www.theatlantic.com/amp/article/553937/
             33 https://www.cbsnews.com/news/ar-15-used-mass-shootings-weapon-of-choice-60-
28   minutes-2019-06-23/.
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                         Declaration of Professor John J. Donohue (1:2 l-cv-04595)
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 1   magazines to be more quickly reloaded to maintain a relentless barrage. The killer
 2   stood outside the church and fired straight through the walls of the church as he
 3   strafed along at just above the top of the levels of the church pews, allowing him to
 4   shoot 254 shots from outside the church in a matter of minutes on his way to killing
 5   26 men, women, and children. No portable weapon in civilian hands at the time of
 6   the adoption of the Second Amendment could possibly generate this degree of
 7   destruction. The evident social harms will only grow as gun technology increases
 8   firearm lethality.
 9   The Far-Reaching Costs of Public Mass Shootings
10          61.    The large number of overall gun homicides compared with mass
11   shootings should not obscure that major public mass shootings cause profound
12   social damage. This harm of course includes the tragic deaths and extraordinarily
13   devastating injuries, but extends far beyond these mere statistical counts of the fatal
14   and non-fatal casualties. Public mass shootings are particularly high-visibility
15   events that are quite shocking to the public and unsettling to the sense of public
16   safety. Horrific mass shootings – such as those perpetrated by Adam Lanza at
17   Sandy Hook School (killing 26), Stephen Paddock in Las Vegas (killing 59 and
18   shooting 422 others), or by ISIS sympathizers at Inland Regional Center in San
19   Bernardino (killing 14)34 and at Pulse in Orlando (killing 49)35 or at various houses
20   of worship in Charleston, South Carolina (killing 9), Sutherland Springs, Texas
21   (killing 26), and Pittsburgh, Pennsylvania (killing 11) – although small in number
22   compared to the total number of homicides, have generated widespread
23   apprehension and increased demand for effective responses from government. It is
24   abundantly clear that the horrors of mass shootings such as the killing of 20
25          34Christine Hauser, San Bernardino Shooting: The Investigation So Far, N.Y. Times (Dec.

26   4, 2015), http://www.nytimes.com/2015/12/05/us/san-bernardino-shooting-the-investigation-so-
     far.html (noting fourteen were killed in December 2015).
             35Gregor Aisch et al., What Happened Inside the Orlando Nightclub, N.Y. Times (June 12,
27
     2016), http://www.nytimes.com/interactive/2016/06/12/us/what-happened-at-the-orlando-
28   nightclub-shooting.html (noting a gunman killed forty-nine in a June 2016 attack).
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                         Declaration of Professor John J. Donohue (1:2 l-cv-04595)
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 1   students and 6 teachers at Sandy Hook Elementary School in Newtown,
 2   Connecticut in December 2012 and the killing of 19 elementary school students and
 3   two teachers in Uvalde, Texas and 10 individuals who died in a hate crime in
 4   Buffalo, New York, both in May 2022, have inflicted psychological distress far
 5   beyond the contours of those small communities and indeed caused suffering
 6   throughout the entire country (and the world).
 7          62.    A considerable scientific literature has documented the significant
 8   emotional and mental health harms that mass shootings inflict on survivors,
 9   community members, wounded victims, active responders, and children. The
10   consistent finding of these studies is that mass shootings can lead to increased
11   levels of post-traumatic stress disorder (PTSD), anxiety, and depression.36 For
12   example, on February 14, 2008, Steven Kazmierczak opened fire in a crowd of
13   Northern Illinois University students, killing 5 people and wounding 17 more
14   before killing himself. This shooting led to dramatic increases in the levels of post-
15   traumatic stress (PTS) symptoms in a sample of Northern Illinois University
16   students.37
17          63.    Similar findings of the broad social damage from mass shootings were
18   also documented in three studies of the broader harm from the 2011 Norway
19   shooting, when Anders Breivik killed 67 people and wounded at least 32. Four to
20
            36 Shultz, James M., Siri Thoresen, Brian W. Flynn, et al. 2014. “Multiple Vantage Points
21   on the Mental Health Effects of Mass Shootings.” Current Psychiatry Reports. 16:469. To
22   complete this meta-analysis of the scientific literature from 2010 to early 2014, the authors
     searched the PUBMED, SCOPUS, PILOTS, PSYCINFO, and CINAHL databases using
23   combinations of terms for mass shooting incidents with MeSH (Medical Subject Heading)
     vocabulary on mental health.
24           37 Bardeen, Joseph R., Mandy J. Jumpula, and Holly K. Orcutt. 2013. “Emotional

     regulation difficulties as a prospective predictors of posttraumatic stress symptoms following a
25   mass shooting.” Journal of Anxiety Disorders 27, no.2 (March): 188-196. This longitudinal study
26   assessed the presence of PTS symptoms in a sample of female undergraduates at Northern Illinois
     University at three time points: T1, the starting period (pre-shooting) (n=1,045), T2, short term
27   post-shooting (17-100 days post-shooting, n=691), and T3, roughly 7-8 months post-shooting
     (n=588). In the sample of 691 students that were assessed at T1 and T2, clinically significant
28   levels of PTS rose from 20% pre-shooting to almost 50% post-shooting.
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                          Declaration of Professor John J. Donohue (1:2 l-cv-04595)
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 1   five months following the shooting, survivors were six times more likely to exhibit
 2   elevated PTS symptoms compared to an age- and gender-adjusted sample derived
 3   from the overall population.38 But the psychic trauma was not limited to the victims
 4   and survivors of mass shootings. Two additional studies, which focused on the
 5   broader harm to the surrounding community following the Breivik shooting in
 6   Norway, found measurable increases in stress reactions in the general population,
 7   with the effects especially strong for young people with a prior history of trauma.39
 8          64.     More generally, survivors of serious gunshot injuries and multiple
 9   victim incidents involving intentionally inflicted harm are at higher risk of
10   experiencing PTS symptoms.40
11
            38 Dyb, Grete, Tine K. Jensen, Egil Nygaard, et al. 2014. “Post-traumatic stress reactions

12   in survivors of the 2011 massacre on Utoya Island, Norway.” The British Journal of Psychiatry
     204, no. 5 (May): 361-367. Of the 490 survivors from the Utoya shooting invited to participate in
13   the study, 325 agreed. Semi-structured face-to-face interviews were conducted by health
14   personnel approximately 4-5 months after the shooting.
             39 Thoresen, Siri, Helene Flood Aakvaag, Tore Wentzel-Larsen, et al. 2012. “The day

15   Norway cried: Proximity and distress in Norwegian citizens following, 22nd July 2011 terrorist
     attacks in Oslo and on Utoya Island.” European Journal of Traumatology 3, (Nov). The study
16   drew a representative sample from the Norwegian Population Registry. A total of 465 individuals
     living in Oslo and 716 individuals living in other parts of Norway were interviewed over the
17   phone 4-5 months after the Breivik attacks.
18           Nordanger, Dag, Kyrre Breivik, Bente Storm Haugland, et al. 2014. “Prior adversities
     predict posttraumatic stress reactions in adolescents following the Oslo terror events 2011.”
19   European Journal of Traumatology 5, (May). The study was based on a survey of 10,220
     Norwegian high school students that was conducted 7 months after the Oslo and Utoya terrorist
20   attacks. It collected information both on adverse life experiences (e.g. exposure to sexual trauma,
     violence, etc.) and the exposure and reactions to the Breivik attacks.
21           40 Greenspan, Arlene I., and Arthur L. Kellerman. 2002. “Physical and Psychological

22   Outcomes 8 Months After Serious Gunshot Injury.” The Journal of Trauma: Injury, Infection and
     Critical Care 53, no.4 (Oct): 709-716. This study interviewed 60 patients who were admitted to a
23   Level 1 trauma center for firearm-related injuries, first, at the time of their hospitalization, and
     second, 8 months after they were discharged. Most respondents indicated symptoms of PTS 8-
24   months post-discharge, with 39% reporting severe symptoms of intrusion and 42% reporting
     severe avoidance behaviors.
25
             Santiago, Patcho N., Robert J. Ursano, Christine L. Gray, et al. 2013. “A Systematic
26   Review of PTSD Prevalence and Trajectories in DSM-5 Defined Trauma Exposed Populations:
     Intentional and Non-Intentional Traumatic Events.” PLoS One 8, no. 4 (April). The authors
27   identified 2,537 articles published from January 1, 1998 to December 31, 2010 and covering
     longitudinal studies of directly exposed trauma populations. Of these articles, they closely
28                                                                                       (continued…)
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                        Declaration of Professor John J. Donohue (1:2 l-cv-04595)
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 1          65.     Not surprisingly, those who have experienced previous trauma or
 2   psychological disorders are especially vulnerable to potential mental health
 3   problems after a mass shooting.41 Moreover, children are more susceptible
 4   experiencing PTS symptoms following a mass shooting. For example, a study of
 5   320 students who survived a mass public shooting at a Danish high school found
 6   that seven months later 35 percent of students reported PTS symptoms and 7
 7   percent had PTSD.42
 8          66.     A recent study of broad scope by Maya Rossin-Slater et al (2019) tries
 9   to estimate the impact on mental health of the over 240,000 American students who
10   experienced and survived a school shooting in the last two decades. Using large-
11   scale prescription data from 2006 to 2015, the authors examined the effects of 44
12   school shootings on youth antidepressant use in a difference-in-difference
13   framework. Their main finding was that local exposure to fatal school shootings
14   increased youth antidepressant use by 21.4 percent in the following two years.43
15
     surveyed 58 articles that met the DSM-5 definition of having experienced a traumatic event and
16   assessed PTSD symptoms at two or more time points within a 12-month window. The authors
     found that in the 5 studies with sufficient data, a median of 37.5% of individuals exposed to
17   intentional traumatic events developed PTSD.
              41 See Shultz et al (2014), supra note 36, and Littleton, Heather, Amie E. Grills-
18
     Taquechel, Danny Axsom, et al. 2012. “Prior Sexual Trauma and Adjustment Following the
19   Virginia Tech Campus Shooting: Examination of the Mediating Role of Schemas.” Journal of
     Psychological Trauma 4, no.6 (Nov): 579-586. This study had interviewed 215 Virginia Tech
20   college women prior to the school’s mass shooting and then followed up with them two months
     and then one year after the shooting. The authors compared the post-shooting PTSD and
21   depression symptoms of women with and without a history of sexual trauma. The authors found
22   that women who had experienced sexual trauma reported significantly higher levels of depression
     (p=0.006) and shooting-related PTSD symptoms (p=0.04) in the post-shooting interview.
              42 Elklit, Ask, and Sessel Kurdahl. 2013. “The psychological reactions after witnessing a
23
     killing in public in a Danish high school.” European Journal of Traumatology 4, (Jan). Seven
24   months after the mass public shooting, researchers administered the Harvard Trauma
     Questionnaire to Danish students in the second and third grade of high school (this is roughly
25
     equivalent to the final two years of high school in the US system). The questionnaire was also
26   mailed to parents’ addresses of students who had graduated in June. Of the 415 students enrolled
     at the time of the shooting, 320 students returned the questionnaire.
27            43 Maya Rossin-Slater, Molly Schnell, Hannes Schwandt, Sam Trejo, Lindsey Uniat,

     Local Exposure to School Shootings and Youth Antidepressant Use, NBER Working Paper No.
28                                                                                     (continued…)
                                                    26
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 1   Given such evidence, any notion that the problem of public mass shootings in the
 2   U.S. is relatively minor is untenable.
 3   Banning Assault Weapons Should Save Lives and Reduce Injuries
 4          67.    With only 5 percent of the world’s population, the U.S. has roughly
 5   one-third of the public mass shootings across 171 countries since the late 1960s.44
 6   It is widely recognized that gun control can limit the extent of gun violence, and a
 7   variety of measures have been adopted throughout the developed world, including
 8   efforts to restrict who has access to weapons and where they may be carried and to
 9   restrict the types of guns in circulation and the size of ammunition magazines. As
10   two political scientists explain, there are two primary rationales behind such
11   measures: “One, they make it less likely that someone intent on violence will be
12   able to get a gun. And two, by making the weapon less deadly, gun control laws
13   reduce the danger that the victim of a gun attack will die.”45
14          68.    Cook County adopted the restrictions at issue in this litigation in
15   pursuit of this public safety rationale by making it “unlawful to manufacture, sell,
16   offer or display for sale, give, lend, transfer ownership of, acquire, carry or possess
17   any assault weapon or large capacity magazine in Cook County” (apart from
18   specified exceptions in the ordinance). Code of Ordinances of Cook Cnty., III. §§
19   54-212, 54-214(a) (Dec. 15, 2020), https://bit.ly/2Lcts75.
20          69.    The objective of this ordinance is to reduce the prevalence of weapons
21   that will be most attractive to mass killers and most effective for committing mass
22
23   26563 (December 2019), https://www.nber.org/papers/w26563. See also, “My son survived
     Sandy Hook. It’s changed me as a parent,” The Washington Post, December 13, 2019,
24   https://www.washingtonpost.com/lifestyle/2019/12/13/i-cry-high-school-meets-how-sandy-hook-
     changed-me-parent/.
25           44 Lankford, Adam, “Public Mass Shooters and Firearms: A Cross-National Study of 171

26   Countries,” Violence and Victims, Vol 31, Issue 2, DOI: 10.1891/0886-6708.VV-D-15-00093,
     http://connect.springerpub.com/content/sgrvv/31/2/187.
             45Jonathan Spiegler and Jacob Smith, “More mental health care alone will not stop
27
     gun violence,” The Conversation, June 19, 2018. https://theconversation.com/more-mental-
28   health-care-alone-will-not-stop-gun-violence-94201
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 1   murder or the type of rapid, sustained deadly fire that would be most advantageous
 2   for criminal purposes. In other words, there are two dimensions of assault weapons
 3   that are highly problematic in civilian hands: their dangerous symbolic and
 4   cosmetic features as well as their capacity to assist in mass killing. The zealous,
 5   pro-gun Texas politician Jerry Patterson – author of the 1995 Texas law that first
 6   allowed concealed carry of handguns – recognized the importance of the symbolic
 7   and cosmetic appeal of these weapons when he acknowledged that the primary
 8   value of an AR-15 in civilian life is to be “a look-at-me gun.”46 Unfortunately, no
 9   one desires this symbolic feature more than mass shooters, who frequently express
10   the view that assault weapons will finally make others realize they are powerful.
11   Moreover, As Senator Mark Warner noted in referring to a new proposed federal
12   assault weapons ban, we must “recognize that the features and tactical accessories
13   that define assault weapons under this legislation were designed for a specific
14   purpose — to give soldiers an advantage over the enemy, not to mow down
15   students in school hallways.”47 The ominous and growing problem of mass public
16   shootings since 2013 convinced the Virginia Senator to reverse his prior opposition
17   to an assault weapons ban.
18          70.    Rifles that incorporate military-style features add to their capacity to
19   enhance the death toll in a public mass shooting event: pistol grips and thumbhole
20   stocks enable easier spray-firing; a collapsible or folding stock allows the weapon
21   to be shortened and more easily concealed;48 and barrel shrouds are essential for
22   mass shooters to continuously fire their weapons without suffering discomfort from
23
            46
                Rachel Monroe, “Are Texas Republicans Budging on Gun Control?” The New Yorker
24   (June 16, 2022).
             47 Mark Warner, “I voted against an assault weapons ban. Here’s why I changed my
25   mind,” The Washington Post, October 1, 2018,
26   https://www.washingtonpost.com/opinions/i-voted-against-an-assault-weapons-ban-heres-why-i-
     changed-my-mind/2018/10/01/3bfa76a0-c594-11e8-9b1c-a90f1daae309_story.html.
             48Erica Goodejan, “Even Defining ‘Assault Rifles’ Is Complicated,” The New York Times
27
     January 16, 2013, https://www.nytimes.com/2013/01/17/us/even-defining-assault-weapons-is-
28   complicated.html.
                                                     28
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 1   an overheated barrel.49 As a consequence, these attributes make these weapons
 2   particularly appealing to mass shooters, drug traffickers, and people who may want
 3   to exchange fire with law enforcement.50
 4          71.     Assault weapons, at least of the long gun variety, tend to have higher
 5   muzzle velocities than ordinary handguns.51 They also tend to utilize .223 rounds
 6   designed to fragment and mushroom in a person’s body, as illustrated in the 60
 7   Minutes video referenced above at footnote 33.52 These two factors in conjunction
 8   mean that injuries from being shot by assault weapons tend to cause more complex
 9   damage to the body in ways that make these wounds more dangerous and deadly in
10   both the short and long term.53
11   The Federal Assault Weapons Ban Curtailed Mass Shooting Deaths
12          72.     The first scholar to document the important beneficial effect of the
13   federal assault weapons ban in reducing mass shooting deaths was Louis Klarevas,
14   the author of Rampage Nation: Securing America from Mass Shootings (Amherst,
15   NY: Prometheus 2016). The experience from before, during, and after the ten-year
16   period from 1994-2004 when the federal assault weapons ban was in effect
17          49See Rovella Aff. ¶¶ 34-38, Shew v. Malloy, 994 F. Supp. 2d 234 (D. Conn. 2014), aff'd

     in part, rev'd in part sub nom. New York State Rifle & Pistol Ass'n, Inc. v. Cuomo, 804 F.3d 242
18
     (2d Cir. 2015); H.R. Rep. No. 103-489 (1994) at 18-19.
              50 See H.R. Rep. No. 103-489 (1994) at 14-16; Brady Center to Prevent Gun Violence,
19
     Assault Weapons: Mass Produced Mayhem, October 7, 2008, available at
20   http://www.bradycampaign.org/resources/assault-weapons-mass-produced-mayhem (last visited
     Oct. 12, 2018) at 3; Batts Decl. ¶¶ 33, Kolbe v. O'Malley, 42 F. Supp. 3d 768 (D. Md. 2014), aff'd
21   in part, vacated in part, remanded sub nom. Kolbe v. Hogan, 813 F.3d 160 (4th Cir. 2016), on
22   reh'g en banc, 849 F.3d 114 (4th Cir. 2017), and aff'd sub nom. Kolbe v. Hogan, 849 F.3d 114
     (4th Cir. 2017).
              51See Defts’ Stmt. Docket Entry 63 ¶¶ 44–45, 58–59, 61, 64–65, Worman v. Healey,1-17-
23
     CV-10107, 293 F. Supp. 3d 251 (D. Mass. 2018).
24            52See Batts Decl. ¶¶ 44-45, Kolbe v. O'Malley, 42 F. Supp. 3d 768 (D. Md. 2014), aff'd in

     part, vacated in part, remanded sub nom. Kolbe v. Hogan, 813 F.3d 160 (4th Cir. 2016), on reh'g
25   en banc, 849 F.3d 114 (4th Cir. 2017), and aff'd sub nom. Kolbe v. Hogan, 849 F.3d 114 (4th Cir.
26   2017); Rovella Aff. ¶¶ 39, Shew v. Malloy, 994 F. Supp. 2d 234 (D. Conn. 2014), aff'd in part,
     rev'd in part sub nom. New York State Rifle & Pistol Ass'n, Inc. v. Cuomo, 804 F.3d 242 (2d Cir.
27   2015); Duncan Long, The Complete AR-15/M16 Sourcebook (2d ed.), 2001 at 50; Colwell Decl.
     at 2-4, Worman v. Healey, 293 F. Supp. 3d 251 (D. Mass. 2018).
28            53 See Colwell Decl. in Supp. of Defs.’ Opp. to Mot. for Prelim. Inj. ¶ 8.

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 1   provides important evidence that this federal law saved lives and reduced the
 2   mayhem from the deadliest mass shootings.
 3         73.    Klarevas illustrated in the graphic reproduced below how the pattern
 4   of the deadliest mass shootings changed over the period from 1984-2014.
 5   Examining gun massacres in which at least six were killed, Klarevas found that
 6   these incidents and the number of resulting deaths fell during the decade in which
 7   the federal assault weapons ban was in place and then rebounded when the ban was
 8   lifted in 2004.
 9         74.    As Figure 3 shows, when one compares the ten years prior to the
10   federal assault weapons ban to the ten years under that ban, we see a 37 percent
11   drop in the number of gun massacres (from 19 down to 12) and 43 percent drop in
12   the number of fatalities (falling from 155 to 89) during the years the federal assault
13   weapons ban was in effect. When the ban ended, gun massacres skyrocketed by
14   more than 183 percent in the following decade (from 12 to 34) and the number of
15   fatalities rose by more than 239 percent (from 89 to 302).
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17                                            Figure 3
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           75.    The Klarevas data ended in 2014, so I conducted my own study both to
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     verify the accuracy of the Klarevas findings and then to extend the analysis forward
19
     to the present. In implementing his definition of a gun massacre as a mass shooting
20
     incident in which 6 or more people died, Klarevas notes in his book that “It doesn’t
21
     matter if there is one gunman or several gunmen. It doesn’t need to occur in public.
22
     It can be for any reason whatsoever.” In my study, I chose to use the Mother Jones
23
     database, which does limit the gun crimes to killings occurring in a public place and
24
     omits killings related to armed robbery, gang activity, or domestic violence in
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     accord with recent FBI practice.
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 1          76.    Figure 1 below shows the number of incidents of such gun massacres
 2   and the deaths resulting therefrom based on these criteria.54 The figure illustrates
 3   clearly that the number and deadliness of these mass shootings dropped during the
 4   ten years of the federal assault weapons ban from September 1994 through 2004
 5   and rose sharply after the federal ban was lifted.55 Although the number of incidents
 6   is too limited to highlight the 25 percent drop in gun massacres, the 40 percent drop
 7   in overall fatalities during the period of the federal ban is substantial and
 8   noteworthy.
 9          77.    After the federal ban lapsed in 2004, the gun market was flooded with
10   increasingly more powerful weaponry that allowed mass killers to kill ever more
11   quickly with predictable results. The decade after the ban elapsed saw a 266
12   percent increase in mass shooting incidents and a 347 percent increase in fatalities,
13   even as overall violent crime continued downward (reflected in the dotted line in
14   Figure 1). In other words, my independent assessment confirms the pattern first
15   revealed by Louis Klarevas: gun massacres fell during the assault weapons ban and
16   rose sharply when it was removed in 2004.
17          78.    What has happened since 2014 is even more alarming. In five years,
18   the number of fatalities in these gun massacres has already topped the previous high
19   that occurred during the first decade after the federal assault weapon ban was
20   removed. This murderous leap has occurred at the same time that overall violent
21
22
            54 Figures 1 and 2 are replicated from John Donohue and Theodora Boulouta, “The
23
     Assault Weapon Ban Saved Lives,” Stanford Law School Legal Aggregate, October 15, 2019,
24   https://stanford.io/2MWNsrV and discussed further in John Donohue, “The Swerve to ‘Guns
     Everywhere:’ A Legal and Empirical Analysis,” Law and Contemporary Problems, (forthcoming,
25   February 2020). See also the earlier piece: John Donohue and Theodora Boulouta, “That Assault
26   Weapon Ban? It Really Did Work,” The New York Times, September 5, 2019, (with Theodora
     Boulouta), https://www.nytimes.com/2019/09/04/opinion/assault-weapon-ban.html.
              55 The Federal Assault Weapons Ban took effect September 13, 1994, and expired on
27
     September 13, 2004, due to a sunset provision that enabled the law to lapse after President
28   George W. Bush reneged on his campaign promise to support retention of the federal ban.
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 1   crime persisted on a downward trend, as the dotted line in Figure 4 confirms.56 If we
 2   continue at the post-2014 pace until 2024, the last column of Figure 4 shows that
 3   we will have an astonishing order of magnitude increase in gun massacre deaths
 4   over a 20-year period.57
 5          79.     The evident effectiveness of the assault weapons ban in reducing mass
 6   shooting deaths is exactly what we would expect, since during the decade of the
 7   federal assault weapons ban mass killers could not simply enter a gun store and buy
 8   an assault weapon with a large capacity magazine, as they can do in most of the
 9   U.S. today.58
                                                    Figure 4
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            56 This downward trend in violent crime even as mass shootings rise after 2004 is
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     important evidence of the harmful impact of ending the federal assault weapons ban. Without
23   that evidence one might mistakenly think that the overall violent crime drop of roughly 14 percent
     during the decade of the federal assault weapons ban was simply part of downward crime which
24   itself explains the drop in mass shooting deaths. The experience after 2004 undermines that view.
              57 Note that the numbers of mass shootings would be substantially larger using alternative
25   definitions, such as the Gun Violence Archive definition of four individuals wounded by gunfire
26   in a single incident. Using that more capacious definition, there have been 366 mass shootings in
     the first 318 days of 2019, killing 408 and injuring 1477. https://www.insider.com/number-of-
27   mass-shootings-in-america-this-year-2019-8.
              58 Only 7 states and the District of Columbia ban assault weapons and all of those states
28   plus Colorado and Vermont restrict the permissible size of the ammunition magazines.
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 1          80.     Figure 5 illustrates the average number of fatalities in each mass
 2   shooting for the same four periods shown in Figure 4. The pattern is the same:
 3   fatalities per incident fell during the federal assault weapon ban and have risen
 4   sharply thereafter. With the weaponry available to citizens getting increasingly
 5   more potent and plentiful, the average number of people who die in every incident
 6   has increased by 90 percent since the decade after elimination of the assault
 7   weapons ban.
 8          81.     Assault weapons and/or high capacity magazines were used in all 15
 9   gun massacres since 2014 in which at least six were killed (other than the shooter)
10   shown in Figure 4; all 272 people who died in these 15 gun massacres were killed
11   by weaponry prohibited under the federal assault weapons ban.59
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            59 After Figure 1 was created another victim of the Las Vegas shooting died after two
25   horrendous and agonizing years as a quadriplegic, which elevates to 272 the number of deaths
26   form public gun massacres in the last five years. The following article highlights some of the
     devastating injuries that result from being shot by an assault rifle, such as that used by the Las
27   Vegas shooter. https://www.kptv.com/news/vancouver-woman-says-sister-injured-in-las-vegas-
     shooting-has/article_af9198c6-099c-11ea-87c1-37de7096726f.html.
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            82.    The dramatic increases in gun massacre incidents and fatalities closely
17
     tracks the growth in U.S. sales of previously federally banned weaponry that was
18
     ignited by the expiration of the federal assault-weapons ban in 2004, the removal of
19
     potential liability on the part of gun merchants, and intense advertising of the
20
     militarized upgrades, ranging from high-capacity magazines to flash suppressors,
21
     that stimulated the demand for this highly dangerous consumer product. Josh
22
     Sugarmann, executive director of the Violence Policy Center, notes that “The end
23
     of the assault-weapons ban allowed for the customization and modification of these
24
     weapons to make them look even more militaristic, even more grand in the eyes of
25
     their owners.”60
26
27          60 Quoted in Tim Dickinson, “All-American Killer: How the AR-15 Became Mass

     Shooters’ Weapon of Choice,” Rolling Stone, February 22, 2018,
28                                                                                  (continued…)
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 1         83.      Research published following the mass shootings in Buffalo, New York and
 2   Uvalde, Texas killing a total of 31 in May 2022 further confirms these findings. 61 Specifically, an
 3   analysis of mass shooting data by a group of injury epidemiologists and trauma surgeons reached
 4   the following conclusion:
 5                  We calculated that the risk of a person in the U.S. dying in a mass shooting was
 6                  70% lower during the period in which the assault weapons ban was active. The
 7                  proportion of overall gun homicides resulting from mass shootings was also down,
 8                  with nine fewer mass-shooting-related fatalities per 10,000 shooting deaths.
 9   Industry Advertising of Assault Weapons Appeals to Potential Mass Shooters
10          84.     A year after the lapsing of the federal assault weapons ban, the
11   Protection of Lawful Commerce in Arms Act (PLCAA) was passed, which
12   provided gun manufacturers with near-blanket immunity from suits based on the
13   criminal misuse of their products. This emboldened a torrent of consumer
14   advertising designed to highlight the battlefield appeal of modern assault weapons,
15   and sales soared in response. The dramatic rises in gun massacres followed.
16          85.     These advertising campaigns reveal exactly how the gun industry
17   sought to market assault weapons: they are hawked with explicit depictions of
18   combat and phrases like “The closest you can get without having to enlist.”62
19          86.      Unsurprisingly, a growing number of mass killers turn to these assault
20   rifles when they launch their deadly onslaughts. Moreover, an industry survey of
21   civilian assault-rifle ownership “reveals that the average civilian assault-rifle owner
22   keeps a small arsenal, owning three or more of the guns; 27 percent of owners have
23   bought four or more. [Unfortunately,] many civilian assault-rifle owners fail to
24
25   https://www.rollingstone.com/politics/politics-features/all-american-killer-how-the-ar-15-
     became-mass-shooters-weapon-of-choice-107819/
              61
26               Klein, Michael, 2022. Did the assault weapons ban of 1994 bring down mass
     shootings? Here’s what the data tells us, The Conversation, June 8, 2022,
27   https://theconversation.com/did-the-assault-weapons-ban-of-1994-bring-down-mass-shootings-
     heres-what-the-data-tells-us-184430.
28            62 Id.

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 1   secure their arms; nearly one owner in five does not lock up his rifle, and more than
 2   30 percent take no care to secure their ammunition.”63 In other words, a very
 3   substantial fraction of owners of assault rifles act irresponsibly, thereby exposing
 4   their weapons to loss or theft and resulting criminal misuse. For example, the
 5   weapons used by Adam Lanza to kill his mother, Nancy Lanza, and in the
 6   Newtown shooting were owned by his mother – a pattern that has repeated itself all
 7   too often as the Wall Street Journal noted (see footnote 26, above).
 8          87.    Indeed, the makers of the Bushmaster assault rifle Nancy Lanza owned
 9   and that her son Adam Lanza used to gun down first-graders and teachers in
10   Newtown was sold under the slogan “Forces of opposition, bow down.” While such
11   weapons are designed for and appropriately used by trained military personnel and
12   law enforcement, they are exceedingly dangerous when wielded by mentally
13   unstable civilians.
14          88.    While the United States does not have a higher rate of mental illness
15   than other advanced industrialized nations, it certainly has a higher rate of public
16   mass shootings. This is in part because young men are saturated in a gun culture
17   created by advertising designed to exploit their weaknesses.
18          89.    The gun industry frequently claims that the term “assault weapon” did
19   not exist in the lexicon of firearms, but is a political term, developed by anti-gun
20   publicists to expand the category of “assault rifles” so as to allow an attack on as
21   many additional firearms as possible on the basis of undefined “evil appearance.”64
22          63
                The NSSF periodically conducts research on civilian assault rifles intended for gun
23   sellers, and these figures are from their latest survey. Tim Dickinson, “All-American Killer: How
     the AR-15 Became Mass Shooters’ Weapon of Choice,” Rolling Stone, February 22, 2018,
24   https://www.rollingstone.com/politics/politics-features/all-american-killer-how-the-ar-15-
     became-mass-shooters-weapon-of-choice-107819/
25   64 This particular erroneous and oft-repeated language is from the complaint in Rupp v. Becerra,

26   challenging California’s ban on assault weapons (USDC, Central District of California, 8:17-cv-
     00746-JLS-JDE). In a declaration filed on behalf of the gun industry in Miller v. Becerra in yet
27   another challenge to California’s ban on assault weapons (USDC, Southern District of California,
     19-cv-1537-BEN-JLB), Mr. James Curcuruto of the National Shooting Sports Foundation
28                                                                                    (continued…)
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 1   This utterly specious claim is similarly articulated in Paragraph 28 of the complaint
 2   in this case, which states:
 3          What is more, the designation “assault weapons” is a complete misnomer,
 4          “developed by anti-gun publicists” in their crusade against lawful firearm
 5          ownership. See Stenberg v. Carhart, 530 U.S. 914, 1001 n. 16 (2000)
 6          (Thomas, J., dissenting).
 7   The truth is exactly the opposite.
 8          90.     Throughout the 1980s the gun industry marketed AR-type rifles as
 9   “assault” weapons because this marketing promoted sales. The image below of a
10   Guns & Ammo magazine cover highlighting assault rifles in July 1981 is just one
11   of the numerous such advertisements and gun industry publications concerning
12   assault weapons that one can find on the web throughout the 1980s.65 Only when
13   the increase in civilian ownership of these weapons was followed by outrage over
14   (and fears of potential tort liability for) prominent mass shootings did the industry
15   shift away from that direct terminology in its advertisements (while continuing to
16   market guns with appeals to their military character).
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26   included a gun industry publication as Exhibit 1 that mimics this same inaccurate claim in stating:
     “Mislabeling these rifles as “assault rifles” was, and is, a strategy of gun-banners, and anyone
27   who uses that terminology aids efforts to strip away the right to own these versatile, fun-to-shoot
     firearms.”
28          65 See, https://www.democraticunderground.com/126210025.

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 1                                           Figure 7
 2                       Cover of the July 1981 Issue of Guns & Ammo66
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17         91.     Consider the following Bushmaster advertisement for the gun that
18   Adam Lanza used, and imagine the impact it could have on someone struggling
19   with substantial mental health problems:
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24
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26
27         66
               Reproduced from the New York Times, https://www.nytimes.com/2013/01/17/us/even-
     defining-assault-weapons-is-complicated.html.
28
                                                  39
                      Declaration of Professor John J. Donohue (1:2 l-cv-04595)
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 1                                            Figure 8
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           92.    Notably, while Lanza used a Savage Mark II bolt-action .22-caliber
16
     rifle to kill his sleeping mother, he chose the much more dangerous Bushmaster
17
     assault weapon with 30-round magazines that enabled him to fire 154 bullets over
18
     the 264 seconds in his lethal rampage at Sandy Hook School.67 We can surmise that
19
     if he had only a bolt action hunting rifle, he could not have fired as many bullets
20
     and many lives would have been spared.
21
           93.    The impact of the gun industry’s efforts to exploit messages about
22
     assault weapons directed at those with deep insecurities and even mental health
23
     issues showed up in another recent mass shooting.
24
25
26
           67 Coalition to Stop Gun Violence, “What Adam Lanza Took, and Didn’t Take, to Sandy
27
     Hook Elementary,” https://www.csgv.org/adam-lanza-took-didnt-take-sandy-hook-elementary/
28   (last visited on October 22, 2018).
                                                     40
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 1                                           Figure 9
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           94.    The nineteen-year old killer of 17 at Parkland High School (on
14
     February 14, 2018) was moved to post the above NRA image on his Instagram
15
     account. He stated in a recording that he had had enough of being told what to do
16
     and was tired of being called “an idiot.” “I am nothing. I am no one, my life is
17
     nothing and meaningless. With the power of the A.R., you will know who I am.”
18
           95.    Of course, banning assault weapons does not eliminate the threat from
19
     troubled individuals, but since these weapons are particularly attractive to troubled
20
     potential mass killers and specifically designed to facilitate the most rapid and
21
     effective annihilation of all intended targets, bans on assault weapons is not only
22
     prudent but indeed indispensable in any governmental effort designed to effectively
23
     address the mass shooting problem in America. A brief discussion of how and why
24
     the AR-15 came to be chosen as the primary military combat weapon used by the
25
     U.S. in Vietnam explains why.
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                                                  41
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 1   The Army Adopts the AR-15 for Battlefield Use
 2          96.    In 1957, the Army invited Armalite’s chief gun designer, Eugene
 3   Stoner, to produce a lightweight, high-velocity rifle, that could operate in both
 4   semi- and full-automatic modes with firepower capable “of penetrating a steel
 5   helmet or standard body armor at 500 yards.” Stoner devised the AR-15 to meet
 6   these specifications. The Advanced Research Projects Agency (ARPA) –today
 7   known as DARPA – was so impressed with the AR-15’s value as a combat weapon
 8   that it pushed to have 1,000 rifles shipped for use by South Vietnamese troops and
 9   their American special-forces trainers in 1961.
10          97.    The performance of this new assault weapon was assessed in a
11   confidential ARPA report in July 1962, stating “The AR-15 Armalite rifle has been
12   subjected to a comprehensive field evaluation under combat conditions in
13   Vietnam.”68 The report noted that “The lethality of the AR-15 and its reliability
14   record were particularly impressive.”69 The wounds generated by this weapon were
15   prodigious: “At a distance of approximately 15 meters, one Ranger fired an AR-15
16   full automatic hitting one VC [(Viet Cong)] with 3 rounds [of Caliber .223] with
17   the first burst. One round in the head-took it completely off. Another in the right
18   arm, took it completely off, too. One round hit him in the right side, causing a hole
19   about five inches in diameter. It cannot be determined which round killed the VC
20   but it can be assumed that any one of the three would have caused death.”70
21          98.    The report enumerated the wounds in a Ranger ambush of a Viet Cong
22   position, including: a back wound that “caused the thoracic cavity to explode”; a
23   buttock wound that “destroyed all tissue of both buttocks”; and finally “a heel
24   wound,” where “the projectile entered the bottom of the right foot causing the leg to
25
            68 Advanced Research Projects Agency, Office of the Secretary of Defense, Field Test
26
     Report, AR-15 Armalite Rifle, at 4 (July 31,1962,). Retrieved October 12, 2018 from
27   http://www.dtic.mil/dtic/tr/fulltext/u2/343778.pdf
             69
                Id. at 15.
28           70
                Id. at 22 (emphasis added).
                                                       42
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 1   split from the foot to the hip.” All the deaths were “instantaneous,” “except the
 2   buttock wound. He lived approximately five minutes.”71
 3          99.     The “phenomenal lethality” of the AR-15 described by ARPA led the
 4   Army in December 1963 to adopt the AR-15 – rebranding it the M16.
 5          100. Of course, the civilian AR-15 lacks the fully automatic (and burst)
 6   mode of the M16, but it still retains all the other aspects that made it such a
 7   valuable lethal weapon for deadly combat. In fact, the Army’s own Field Manual
 8   states that semi-automatic fire is the “most important firing technique during fast-
 9   moving, modern combat,” noting, “It is surprising how devastatingly accurate rapid
10   semi-automatic fire can be.”72 In other words, saying that this semi-automatic
11   assault weapon is not a weapon of war because it doesn’t have fully automatic
12   capacity is like saying that a conventional bomber is not a war plane because it isn’t
13   carrying a nuclear payload. Indeed, the ability to convert a civilian AR-15 into a
14   fully automatic weapon – or the near fully-automatic capacity that Stephen Paddock
15   used in the Las Vegas shooting of a year ago – is yet an additional factor that
16   renders it unusually dangerous.
17          101. According to one of its designers, the AR-15 assault rifle was
18   originally engineered to generate “maximum wound effect.” “It’s a perfect killing
19   machine,” says Dr. Peter Rhee, a trauma surgeon and retired Navy captain.73
20          102. Rhee was the doctor who saved the life of Arizona Rep. Gabby
21   Giffords after she was shot in the head with a handgun fired during a mass shooting
22   in 2011. According to Rhee: “A handgun [wound] is simply a stabbing with a
23
24
            71 Tim Dickinson, “All-American Killer: How the AR-15 Became Mass Shooters’
25   Weapon of Choice,” Rolling Stone, February 22, 2018,
26   https://www.rollingstone.com/politics/politics-features/all-american-killer-how-the-ar-15-
     became-mass-shooters-weapon-of-choice-107819/
             72 Id.
27
             73 Id.
28
                                                    43
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 1   bullet. It goes in like a nail. [But with the AR-15,] it’s as if you shot somebody with
 2   a Coke can.”
 3   The Allure of and Value to Mass Shooters of Assault Weapons
 4         103. It is not surprising that mass shooters employing these particularly
 5   lethal weapons are able to kill so many so quickly: Adam Lanza was able to
 6   slaughter 26 in less than five minutes with his Bushmaster AR-15. James Holmes
 7   used a Smith & Wesson “Military & Police” (M&P) AR-15 fitted with a 100-round
 8   magazine to kill 12 and wound 58 in a Colorado movie theater. The ISIS-inspired
 9   San Bernardino, California, shooters used a pair of AR-15s to kill 14. Orlando
10   shooter Omar Mateen unleashed Sig Sauer’s concealable “next-generation AR” to
11   leave 49 dead and dozens more injured at the Pulse nightclub.
12         104. Moreover, there is not the slightest evidence that the federal
13   restrictions on assault weapons that was enacted in 1994 (and lapsed ten years later)
14   compromised the safety of law-abiding citizens. Since these weapons are useful for
15   those bent on mass killing, further limiting their availability should have a
16   beneficial effect on the active shooter and mass shooting problems that are serious
17   and worsening in the United States.
18         105. It should be noted that even if an assault weapons ban failed to reduce
19   the overall criminal use of guns, it can be expected to reduce the overall death toll
20   from the criminal use of guns.
21         106. As noted above, Adam Lanza was able to kill more because he was
22   using a lawfully purchased assault weapon equipped with a 30-round large-capacity
23   magazine. Telling us that Nancy Lanza was a law-abiding citizen so there would be
24   no reason to deprive her of the right to buy an assault weapon entirely misses the
25   point of the benefit of an assault weapons ban: it was the weaponry of a totally
26   law-abiding citizen that directly led to horrific slaughter of 20 first-grade students
27   and six adults. Law-abiding citizens can and do themselves cross over the line into
28   criminal misconduct, but they also facilitate and enable others to engage in deadly
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 1   misconduct when they make their guns available to others through loss or theft. In
 2   other words, the assault weapons ban is designed precisely to save lives and by
 3   raising the costs for killers, it would be expected to advance that goal, as indeed the
 4   empirical evidence confirms.
 5          107. The references to “law-abiding citizens” in Plaintiffs’ complaint
 6   reflects an inaccurate assessment of the potential impact on “law-abiding citizens”
 7   of Cook County’s assault weapons ban. Hundreds of law-abiding citizens have
 8   been killed in mass shootings and the problem of mass shootings is getting worse.
 9   Since the value of assault weapons over non-assault weapons for legitimate self-
10   defense is virtually non-existent, the primary impact of removing such weapons
11   from circulation will be to decrease the prospect that a law-abiding citizen will be
12   confronted by a criminal with such weaponry.
13          108. “[L]aw-abiding citizens” whose guns are lost or stolen each year are
14   one of the most important sources of weapons for criminals in the United States.
15   The best current estimates are that roughly 400,000 guns move into the hands of
16   criminals this way each year in the United States.74 In other words, it is orders of
17   magnitudes more likely that a criminal will steal a gun of a law-abiding citizen than
18   a law-abiding citizen will fire an assault weapon in lawful self-defense. More
19   assault weapons in the hands of law-abiding citizens like Nancy Lanza means more
20   assault weapons in the hands of criminals such as Adam Lanza.
21          74According to Larry Keane, senior vice president of the National Shooting Sports

22   Foundation (a trade group that represents firearms manufacturers), “There are more guns stolen
     every year than there are violent crimes committed with firearms.” More than 237,000 guns were
23   reported stolen in the United States in 2016, according to the FBI’s National Crime Information
     Center. The actual number of thefts is obviously much higher since many gun thefts are never
24   reported to police, and “many gun owners who report thefts do not know the serial numbers on
     their firearms, data required to input weapons into the NCIC.” The best survey estimated 380,000
25   guns were stolen annually in recent years, but given the upward trend in reports to police, that
26   figure likely understates the current level of gun thefts. See, Freskos, Brian. 2017c. “These Gun
     Owners Are at the Highest Risk of Having Their Firearms Stolen.” The Trace. 4/11/2017.
27   https://www.thetrace.org/2017/04/gun-owners-high-risk-firearm-theft/ and Freskos, Brian. 2017b.
     “Missing Pieces.” The Trace. 11/20/2017. https://www.thetrace.org/features/stolen-guns-violent-
28   crime-america/.
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 1          109. Further, many of the most horrific mass shootings in America were
 2   perpetrated by previously law-abiding citizens. The list, which is too long to recite,
 3   includes Stephen Paddock, who killed 59 in Las Vegas; Omar Mateen, who killed
 4   49 in the Pulse nightclub in Orlando; Adam Lanza, who killed 26 in Newtown,
 5   Connecticut; and the Batman killer in Aurora, Colorado, who killed 12, as well as
 6   the Buffalo and Uvalde, Texas shootings in May 2022, where 10 and 21 died,
 7   respectively, after being shot with assault weapons.
 8          110. On November 5, 2009, Nidal Hasan killed 13 and injured more than 30
 9   others at Fort Hood, near Killeen, Texas. When Hasan purchased his killing
10   arsenal, he asked for "the most technologically advanced weapon on the market and
11   the one with the highest standard magazine capacity."75 Searching for the deadliest
12   assault weapon is exactly what one would do if one wanted to simply kill as many
13   people as possible in the shortest amount of time. If one is serious about stopping
14   mass killings, a good first step is to deprive such killers of their preferred killing
15   approaches.
16   Assault Weapons Bans are Critical to Reducing the Cost of Mass Shootings
17          111. The response that bans on assault weapons will have a limited effect
18   on overall gun crime, which is most commonly committed with a handgun, is
19   misplaced because Cook County’s assault weapons ban was not enacted to address
20   gun crime generally, but rather was adopted in response to the growing mass
21   shooting problem in the United States. Indeed, the first assault weapons ban was
22   enacted in California in the immediate aftermath of the 1989 mass shooting in the
23   schoolyard of Cleveland Elementary School in Stockton, California by an
24   individual armed with an AK-47 semiautomatic rifle (killing 5 schoolchildren and
25   wounding 32 others). The legislature in Vermont recently adopted a series of gun
26
            75Scott Huddleston, “Hasan Sought Gun with ‘High Magazine Capacity,’” October 21,
27
     2010, http://blog.mysanantonio.com/military/2010/10/hasan-sought-gun-with-high-magazine-
28   capacity/.
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 1   control measures including barring sales of assault weapons to those under 21 after
 2   the arrest of Jack Sawyer based on evidence that he intended to commit a mass
 3   school shooting in Fair Haven, Vermont.76 Among other things, police recovered a
 4   diary titled “Journal of an Active Shooter” and were told by Mr. Sawyer that he had
 5   recently purchased a shotgun and was hoping to buy the weapon of choice for such
 6   troubled individuals: an AR-15 rifle.77
 7          112. Empirical studies of public mass shootings by Christopher Koper and
 8   others lead them to support restrictions on assault weapons and the large-capacity
 9   magazines that can enhance their lethality. Koper concludes from his research that a
10   revived federal assault weapons ban can “reduce the number and severity of mass
11   shooting incidents.”78
12          113. The troubling gun massacres of the last few months have underscored
13   – yet again – the wisdom of legislative efforts that “aid in the shaping and
14   application of those wise restraints that make men free” by banning the assault
15   weapons that have been a key element enabling the escalating threat and lethality of
16   horrific mass shootings.79
17          76 The Vermont State police arrested Jack Sawyer the day after the Parkland, Florida mass

18   school shooting. See State v. Sawyer, 2018 VT 43, ¶¶ 5-10. Several public officials shortly
     thereafter announced their support for new gun safety legislation. See John Walters, Scott Shifts
19   Gun Stance Following Fair Haven Threat, Seven Days (Feb. 16, 2018), available at
     https://www.sevendaysvt.com/OffMessage/archives/2018/02/16/walters-scott-shifts-gun-stance-
20   following-fair-haven-threat; Alan J. Keays, Scott says ‘everything’s on the table’ as pressure
21   builds for gun measures, VTDigger (Feb. 22, 2018), https://vtdigger.org/2018/02/22/updated-
     scott-says-everythings-on-the-table-as-pressure-builds-for-gun-measures/.
             77 Alan J. Keays, Court Shown Video of Alleged School Shooting Plotter’s Interrogation,
22
     VTDigger (Feb. 27, 2018), https://vtdigger.org/2018/02/27/ex-student-accused-fair-haven-
23   shooting-plot-details-plans/.
             78 Linda Qiu and Justin Bank, “Major Shootings Led to Tougher Gun Laws, but to What
24   End?” The New York Times, Feb. 23, 2018,
     https://www.nytimes.com/2018/02/23/us/politics/fact-check-mass-shootings-gun-laws.html; see
25
     also, Carolyn Lochhead, “Feinstein renews effort to ban assault weapons,” San Francisco
26   Chronicle, March 3, 2018,
     https://www.sfchronicle.com/nation/article/Feinstein-renews-effort-to-ban-assault-weapons-
27   12725959.php.
             79The quote is from John MacArthur Maguire and is enshrined at the Harvard Law School
28                                                                                    (continued…)
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 1          114. It is my opinion that if, rather than allowing the federal assault
 2   weapons ban to lapse in 2004, the country had moved to a more complete ban,
 3   many of the gun tragedies of recent years would have been far less deadly and
 4   damaging to countless individuals who have been maimed and injured throughout
 5   the United States. It is also my opinion that Cook County’s ban on assault weapons
 6   is one tool in the important governmental effort to reduce the likelihood that Cook
 7   County residents will be killed in mass shootings by making it incrementally harder
 8   for prospective mass shooters to equip themselves with weapons that are both
 9   uniquely appealing to their criminal aspirations as well as uniquely designed to aid
10   in their homicidal rampages.
11   Uses of Assault Weapons for Self-Defense are Extremely Rare
12          115. In the face of the clear evidence from around the United States and the
13   world, Plaintiffs’ complaint and motion for preliminary injunction posit that assault
14   weapons might protect against crime rather than simply increase the death toll.
15   First, it is worth noting that the vast majority of the time that an individual in the
16   United States is confronted by violent crime, they do not use any gun for self-
17   defense. Specifically, over the period from 2007-2011 when roughly 6 million
18   violent crimes occurred each year, data from the National Crime Victimization
19   Survey shows that the victim did not defend with a gun in 99.2 percent of these
20   incidents – this in a country with over 300 million guns in civilian hands.
21          116. Second, even if a gun were available for self-defense use, the need for
22   an assault weapon is virtually non-existent according to decades of statements by
23   NRA-affiliated and pro-gun experts. For example, John Lott, has repeatedly made
24   the following claims:
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26
27
     library. See https://asklib.law.harvard.edu/friendly.php?slug=faq/115309 (last visited Nov. 1,
28   2017).
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 1          • based on “about 15 national survey[s] … about 98 percent of [defensive
 2            gun uses] involve people brandishing a gun and not using them.”80
            • “When victims are attacked, 98 percent of the time merely brandishing a
 3            gun is enough to cause the criminal to stop his attack.”81
 4          • “Considerable evidence supports the notion that permitted handguns deter
              criminals. …. In 98% of the cases, people simply brandish weapons to stop
 5            attacks.”82
 6          117. Gun Owners of America cite published survey results on gun
 7   brandishing: “Of the … times citizens use their guns to defend themselves every
 8   year, the overwhelming majority merely brandish their gun or fire a warning shot to
 9   scare off their attackers.”83
10          118. In other words, a gun is used in defense less than 1 percent of the time
11   when someone is attacked in the United States. In the “overwhelming majority” of
12   the less than 1 percent of cases in which a gun is used, brandishing is all that is
13   needed for defense. The U.S. Supreme Court in Heller considered a handgun the
14   quintessential self-defense weapon. It cannot be seriously maintained that assault
15   weapons play any important role in furtherance of this Second Amendment goal.
16   Indeed, if they did, the industry would have marketed them as protection weapons
17   instead of assault weapons – or in the more recent gun-marketing jargon “sporting”
18   or “tactical” rifles.
19          119. Consequently, Cook County’s assault weapons ban, which is designed
20   to limit the mayhem caused by criminals engaging in the most dangerous forms of
21
22          80Statements by John R. Lott, Jr. on Defensive Gun Brandishing Posted by Tim Lambert

23   on October 17, 2002 http://scienceblogs.com/deltoid/2002/10/17/lottbrandish/. Page 41, State of
     Nebraska, Committee on Judiciary LB465, February 6, 1997, statement of John Lott, Transcript
24   prepared by the Clerk of the Legislature, Transcriber's Office.
              81John R. Lott, Jr., Packing Protection, Letters, Chicago Sun-Times, April 30, 1997, Pg.
25   52.
26
              82
                 John R. Lott Jr., “Unraveling Some Brady Law Falsehoods,” Los Angeles Times, July 2,
     1997.
              83Gary Kleck and Marc Gertz, "Armed Resistance to Crime: The Prevalence and Nature of
27
     Self-Defense with a Gun," 86(1) Journal of Criminal Law and Criminology 150-187 (Fall 1995).
28   https://pdfs.semanticscholar.org/91da/afbf92d021f06426764e800a4e639a1c1116.pdf .
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 1   violent criminal behavior, is likely to have little or no impact on the defensive
 2   capabilities of law-abiding citizens in their homes.
 3          120. Assault weapons are the mass killers’ armaments of choice. A study
 4   of 62 public mass shooting incidents occurring between August 1982 and
 5   December 2012 found that more than half the time, the attackers used assault rifles,
 6   high-capacity magazines, or both.84 Indeed, as I noted above, at least 272 people
 7   who died in gun massacres since 2014 were killed by weaponry prohibited under
 8   the federal assault weapons ban.
 9   Law Enforcement and Military Support for Assault Weapon and LCM Bans
10          121. The testimony of United States Attorney (District of Colorado) John
11   Walsh before the Senate Judiciary Committee on February 27, 2013,85 is worth
12   quoting:
13         From the point of view of most law enforcement professionals, a perspective
           I share as a long-time federal prosecutor and sitting United States Attorney,
14         shutting off the flow of military-style assault weapons and high-capacity
15         magazines is a top public safety priority. […]
           Like military-style assault weapons, high-capacity magazines should be
16         reserved for war, and for law enforcement officers protecting the public.86
17
18
            84 Follman M, Aronsen G, and Lee J, More than half of mass shooters used assault
19
     weapons and high-capacity magazines. http://www.motherjones.com/politics/2013/02/assault-
20   weapons-high-capacity-magazines-mass-shootings-feinstein. This study defines a mass shooting
     as an incident where 4 or more victims are killed with a firearm, in a public place, and excludes
21   familicide mass shootings and mass shootings related to other crimes such as gang violence or
22   armed robbery. Out of the 62 incidents, the authors identified 31 mass shooting incidents
     involving high capacity magazines, 14 mass shooting cases involving assault weapons, and
23   overall 33 cases involving assault weapons or high capacity magazines or both. The authors
     identify guns using high capacity magazines or assault weapons based on the definitions in the
24   Feinstein Assault Weapons Ban Senate bill of
     2013. https://www.motherjones.com/politics/2012/07/mass-shootings-map/U.
25           85Statement of John F. Walsh before the United States Senate Committee on the Judiciary,

26           https://www.judiciary.senate.gov/imo/media/doc/2-27-13WalshTestimony.pdf (last visited
     Nov. 1, 2017).
             86See, David S. Fallis and James V. Grimaldi, In Virginia, high-yield clip seizures rise,
27
     Washington Post, Jan. 23, 2011, available at http://www.washingtonpost.com/wp-
28   dyn/content/article/2011/01/22/AR2011012204046.html (last visited Nov. 1, 2017).
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 1          122. Dean L. Winslow, a retired Air Force colonel, flight surgeon, and
 2   professor of medicine at Stanford University has particularly valuable insight into
 3   the wisdom of having assault weapons in civilian hands.
 4          123. Dr. Winslow noted that “as commander of an Air Force hospital in
 5   Baghdad during the surge, I have seen what these weapons do to human beings.
 6   The injuries are devastating.”87 Moreover, unlike a shotgun filled with birdshot,
 7   which is far more likely to hit a target and less likely to penetrate walls than a bullet
 8   from an assault weapon, assault weapons are simply not well suited for defensive
 9   use in the home. Based on his extensive military and medical experience, Dr.
10   Winslow noted that it is “insane … that in the United States of America a civilian
11   can go out and buy a semiautomatic weapon like an AR-15."
12          124. According to Maryland Police Superintendent Marcus Brown, “in
13   many home defense situations assault weapons are likely to be less effective than
14   handguns because they are less maneuverable in confined areas.”88 Experts consider
15   handguns clearly more suitable than assault weapons for self-defense.
16   Massachusetts Chief of Police Mark K. Leahy said that when “asked to recommend
17   a weapon for home defense or concealed carry, I always recommend a handgun.”89
18          125. Since AR-15’s were selected by the Defense Department as a weapon
19   of choice for the battlefield in Vietnam because the destructive force of the gun
20   made it especially lethal to even outer extremity wounds, the point could not be
21   clearer: keeping these weapons out of civilian hands will reduce the death toll and
22   seriousness of injuries in cases of mass shootings or other criminal or accidental
23   uses of these weapons.
24
            87 Dean L. Winslow, “I spoke my mind on guns. Then my Senate confirmation was put on
25   hold,” The Washington Post, December 20, 2017. See also, Heather Sher, “What I Saw Treating
26   the Victims from Parkland Should Change the Debate on Guns,” The Atlantic Monthly, February
     22, 2018, https://www.theatlantic.com/politics/archive/2018/02/what-i-saw-treating-the-victims-
27   from-parkland-should-change-the-debate-on-guns/553937/.
             88Brown Decl. ¶ 20, Kolbe v. O’Malley, 42 F. Supp. 3d 768 (D. Md. 2014).
28           89Leahy Decl. ¶ 22, Worman v. Healy, 293 F. Supp. 3d 251 (D. Mass. 2018).

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 1   Gun Control Dramatically Reduced Mass Shootings in Australia
 2          126. In this regard, consider what happened in Australia after a gunman
 3   shot and killed 35 people in Port Arthur, Tasmania in 1996. The Australian federal
 4   government persuaded all states and territories to implement tough new gun control
 5   laws. Under the National Firearms Agreement (NFA), firearms legislation was
 6   tightened throughout the country, national registration of guns was imposed, and it
 7   became illegal to hold certain long guns that might be used in mass shootings. The
 8   effect was that both while there were 7 public mass shootings in Australia during
 9   the seventeen-year period 1979–96 (a per capita rate that was higher than in the
10   U.S. at the time), there have been none in the 23 years since (in contrast to the bleak
11   trend in public mass shootings in the United States90). Adjusting for the relative
12   populations of the two countries, it would be as though there were 103 separate
13   mass shooting events in the 18 years prior to the massive Australian gun buyback
14   and none in the 23 years since.91
15          127. The important point of the Australian experience for present purposes
16   is that by depriving disturbed individuals of the vehicle by which they imagined
17   they would unleash their murderous impulses, Australia showed that strong gun
18   control measures such as bans on semiautomatic rifles could dramatically reduce
19   the number of mass shootings – even if guns are still widely available, as they
20   remain in Australia.
21          128. Although the ban was highly controversial when enacted in 1996, the
22   results have been so unambiguously positive for the country that there is now
23   overwhelming support for it throughout Australia, as repeatedly shown in public
24   opinion polls. For example, a survey by Essential Research in 2016 confirmed that
25          90 Dan Diamond, “Mass Shootings Are Rising. Here's How To Stop Them,” Forbes, June

26   18, 2015 (depicting the accelerating trend in the U.S. versus the benign trend in Australia),
     https://www.forbes.com/sites/dandiamond/2015/06/18/charleston-deaths-are-an-american-
27   tragedy-mass-shootings-are-rising/#12bd32ef787b.
             91 The population of Australia in 1996 was 18.3 million and the population of the US in
28   the same year was 269.4 million, according to data from the World Bank.
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 1   44 percent thought Australians gun restrictions were "about right" and 45 percent
 2   thought the laws were "not strong enough."92 Against this 89 percent in support of
 3   gun restrictions, only 6 percent thought the laws were “too strong.” Significantly,
 4   the poll specifically noted that these views were now consistent regardless of
 5   political party voting tendency for Labor, Coalition, or Greens voters.
 6          129. New Zealand followed the Australian lead after a horrific mass murder
 7   with an assault rifle,93 and Canada just announced in May 2022 its plans for a
 8   similar gun buyback for its current stock of assault weapons after its own
 9   horrendous mass shooting prompted the enactment of a ban on assault weapons in
10   2020.94 Tellingly, in announcing an array of stringent gun safety measures,
11   Canadian Prime Minister Justin Trudeau showed that he has learned from the
12   lamentable experience of mass killings in the United States: “We need only look
13   south of the border to know that if we do not take action, firmly and rapidly, it gets
14   worse and worse and more difficult to counter.”
15          130. While defensive gun ownership is designed to prevent violence, the
16   intent of the public mass shooter is to kill as many people as possible. Accordingly,
17   the lethal capacity of the weapon will influence that toll of these homicidal events
18
     92Essential Research, "Gun laws", 1 November 2016.
19          93
                Associated Press, “New Zealanders hand in 50,000 guns after assault weapon ban,”
20   Dec. 21, 2019, https://www.nbcnews.com/news/world/new-zealanders-hand-50-000-guns-after-
     assault-weapon-ban-n1106081 (“The government banned the most lethal types of semi-automatic
21   weapons less than a month after a lone gunman in March [2019] killed 51 worshippers at two
     Christchurch mosques. The police then launched a six-month program to buy the newly banned
22   weapons from owners.”)
             94
23              The Prime Minister also announced that magazine size would be restricted to five
     rounds in long guns. Justin Trudeau, “Further strengthening our gun control laws,’ (May 30,
24   2022), https://pm.gc.ca/en/news/news-releases/2022/05/30/further-strengthening-our-gun-control-
     laws. Amanda Coletta, “Canada vows to ‘freeze’ handgun sales, buy back assault-style weapons,”
25   The Washington Post (May 30, 2022)(“[T]he government banned 1,500 makes and models of
26   “military-style assault weapons” in 2020, after a gunman posing as a police officer charged across
     rural Nova Scotia, killing 22 people, including a Royal Canadian Mounted Police officer, in the
27   country’s deadliest mass shooting.”)

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 1   (as opposed to the defensive setting when brandishing typically achieves its goal).
 2   As Klarevas, Koper, and courts have observed, assault weapons with large capacity
 3   magazines are disproportionately used in mass shootings.95 When such weapons
 4   are deployed in mass shootings, they “result in ‘more shots fired, persons wounded,
 5   and wounds per victim than do other gun attacks.’”96 Among the mass shootings
 6   identified in a 2016 study by Everytown for Gun Safety, use of a large capacity
 7   magazine, or assault weapon that likely included a large capacity magazine, was
 8   associated with more than twice as many people being shot and nearly 50 percent
 9   more people being killed.97
10          131. Many mass shooters seem to prefer using assault weapons, and mass
11   shootings in which assault weapons are used tend to result in worse outcomes.
12   Some estimates suggest that around 11-13 percent of mass shootings are with
13   assault weapons but these numbers tend to be biased downward.98 For example,
14   Christopher S. Koper et al. examine a sample of 145 mass shooting incidents (with
15   incomplete weapons data) from 2009-2015 and estimated that assault weapons were
16   used in at least 10.3 percent of all incidents.99 This figure, however, rose to 35.7
17   percent when limiting the sample to the 42 cases where there is sufficiently detailed
18
19
            95Christopher Ingraham, It's Time to Bring Back the Assault Weapons Ban, Gun Violence

20   Experts Say, Washington Post, February 15, 2018,
     https://www.washingtonpost.com/news/wonk/wp/2018/02/15/its-time-to-bring-back-the-assault-
21   weapons-ban-gun-violence-experts-say/; Koper 2004 Assessment at 14, 18.
              96N.Y.S. Rifle, 804 F.3d at 264 (quoting Heller v. District of Columbia, 670 F.3d 1244,
22
     1263 (D.C. Cir. 2011)).
              97Mass Shootings in the United States: 2009 – 2016, Appendix of Shootings Profiled,
23
     https://everytownresearch.org/documents/2017/03/appendix-mass-shootings-united-states-2009-
24   2016.pdf.
              98Everytown for Gun Safety, Analysis of Recent Mass Shootings, July 2014, available at
25   https://everytownresearch.org/documents/2015/04/analysis-of-recent-mass-shootings.pdf (last
26   visited Oct. 12, 2018) at 4; Mark Follman, Gavin Aronsen, and Deanna Pan, “A Guide to Mass
     Shootings in America,” Mother Jones (Sept. 20 2018).
              99Christopher S. Koper et al., “Criminal Use of Assault Weapons and High Capacity
27
     Semi-Automatic Firearms: An Updated Examination of Local and National Sources,” 95(3)
28   Journal of Urban Health 313-321 (2017) at 317.
                                                       54
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 1   information to definitively determine whether an assault weapon was used.100
 2   Research by Luke Dillon shows that mass shooting incidents using assault weapons
 3   result in more people injured and more total victims.101
 4          132. Assault weapons also pose particular dangers and problems to law
 5   enforcement. Because of the types of rounds typically fired by assault weapons as
 6   well as the muzzle velocities they tend to have, assault weapons are “capable of
 7   penetrating the soft body armor customarily worn by law enforcement.”102 The
 8   ability to fire rapidly also allows criminals to more effectively engage with
 9   responding police officers, even from a significant distance.103 Empirical research
10   by the Violence Policy Center shows that “one in five law enforcement officers
11   slain in the line of duty was killed with an assault weapon,” despite the relative
12   rarity of assault weapon use in crime in general.104 Christopher S. Koper et al. find
13   that assault weapons, virtually all of which were assault rifles, “accounted for
14   13.2% of the firearms used in [police murders]” from 2009-2013 (note that this
15   excludes cases involving the officer’s own firearm).105 Many law enforcement
16   officers and agencies report that the possibility of encountering criminals with
17   assault weapons necessitates that they spend a great deal of time and resources
18   preparing for such encounters.106 Both the February 2018 mass killing at Parkland
19   High School and the May 2022 mass killing in Uvalde, Texas – where police
20   delayed entering the school during a shooting -- vividly underscored how police
21
22
            100Christopher S. Koper et al. 2017, Finding at 317.
23
            101Luke Dillon, Mass Shootings in the United States: An Exploratory Study of the Trends

24   from 1982-2012, Fall 2013, available at http://mars.gmu.edu/xmlui/handle/1920/8694.
             102Brown Decl. ¶ 23, Kolbe v. O’Malley, 42 F. Supp. 3d 768 (D. Md. 2014).
25           103Kyes Decl. ¶ 15-17, Worman v. Healy, 293 F. Supp. 3d 251 (D. Mass. 2018).
             104
26               Violence Policy Center, Officer Down: Assault Weapons and the War on Law
     Enforcement, May 2003, available at http://www.vpc.org/studies/officer%20down.pdf (last
27   visited Oct. 12, 2018) at 5.
             105Christopher S. Koper et al. 2017, Finding at 317.
28           106Brady Center to Prevent Gun Violence 2008 at 4-6.

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 1   responses to violence are impaired when the officers are confronted by a shooter
 2   armed with an assault rifle.
 3          133. Assault weapons, acquired in the United States, are particularly
 4   popular weapons for drug traffickers and gang members, both in the United States
 5   and in Mexico.107
 6          134. Beyond the unmistakable evidence that the federal assault weapons
 7   ban reduced deaths from public mass shootings, there is also evidence that the
 8   federal assault weapons ban was effective in limiting all criminal use of assault
 9   weapons. Brady Center to Prevent Gun Violence analysis suggests that the share of
10   gun crimes committed with assault weapons declined following the institution of
11   bans.108 This study used the share of Bureau of Alcohol, Tobacco, and Firearms
12   (ATF) firearm traces that are of assault weapons as a dependent variable, even
13   though it is likely that this measure is marred by changes in the nature and
14   frequency of gun tracing behavior by ATF.109 The Police Executive Research
15   Forum found that the relative usage of assault weapons in crime increased after the
16   ban’s end, with 38 percent of police agencies reporting that criminals’ use of assault
17   weapons had increased.110
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20          107Id. at 3-6; Violence Policy Center, Assault Pistols: The Next Wave, January 2013,

     available at http://www.ncdsv.org/images/VPC_AssaultPistolsTheNextWave_1-2013.pdf (last
21   visited Oct. 12, 2018) at 1-2; Spitzer Aff. ¶ 4, Worman v. Healy, 293 F. Supp. 3d 251 (D. Mass.
22   2018).
             108Brady Center to Prevent Gun Violence, On Target: The Impact of the 1994 Federal

23   Assault Weapons Ban, March 2004, available at
     https://www.bradycampaign.org/sites/default/files/on_target.pdf (last visited Oct. 12, 2018).
24           109Violence Policy Center, A Further Examination of Data Contained in the Study On

     Target Regarding Effects of the 1994 Federal Assault Weapons Ban, April 2004, available at
25   http://vpc.org/graphics/AWAnalysisFinal.pdf (last visited Oct. 12, 2018) at 7-8.
             110
26               Police Executive Research Forum, Guns and Crime: Breaking New Ground By
     Focusing on the Local Impact, May 2010, available at
27   https://www.policeforum.org/assets/docs/Critical_Issues_Series/guns%20and%20crime%20-
     %20breaking%20new%20ground%20by%20focusing%20on%20the%20local%20impact%20201
28   0.pdf (last visited Oct. 12 2018) at 2.
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 1        135.    The argument that the federal assault weapons ban could not be
 2   effective since it only limited acquisitions of newly acquired weapons, but did not
 3   by itself reduce the stock of assault weapons or high-capacity magazines turned out
 4   to be incorrect. Figure 10 shows data from Chris Koper’s investigation in six cities
 5   of the percent of guns recovered at crime scenes that were assault weapons,
 6   documenting how this percentage changed after the federal assault weapons ban
 7   went into effect. The figure clearly shows that the prevalence of assault weapons
 8   found at crime scenes fell in all six cities when the ban went into effect. The more
 9   complete ban on assault weapons and high-capacity magazines in Cook County is
10   therefore designed to provide even greater benefits in reducing the social costs of
11   firearm violence.
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 1                                          Figure 10
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         136.    Subsequent research by Koper et al (2017: 319) further highlights both
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     the increased danger from assault weapons (AWs) and firearms with large-capacity
21
     magazines (LCM firearms):
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                 LCM firearms, which include AWs as well as other high-capacity
23
                 semiautomatics, appear to account for 22 to 36% of crime guns in most
24
                 places, with some estimates upwards of 40% for cases involving
25
                 serious violence. These estimates are comparable to or higher than
26
                 earlier estimates of LCM use. …
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 1                         Consistent with prior research, this study also finds that AWs
 2                 and LCM firearms are more heavily represented among guns used in
 3                 murders of police and mass murders. AWs account for 13–16% of
 4                 guns used in murders of police, while LCM weapons overall account
 5                 for about 41% of these weapons. Estimates for firearm mass murders
 6                 are very imprecise due to lack of data on the guns and magazines used
 7                 in these cases, but available information suggests that AWs and other
 8                 high-capacity semiautomatics are involved in as many as 57% of such
 9                 incidents. Further, they are particularly prominent in public mass
10                 shootings and those resulting in the highest casualty counts.
11                         Importantly, trend analyses suggest that LCM firearms have
12                 grown substantially as a share of crime guns since the expiration of the
13                 federal ban on AWs and LCMs.111
14        137.     In other words, the use of banned firearms and magazines by criminals
15   fell during the federal AWB and rose when it lapsed. These weapons also account
16   for a major share of murders of police and overall crime, as well as for firearm mass
17   murder.
18          138. No one has a greater desire or use for an assault weapon than a
19   determined mass killer. A ban on such assault weapons is an important tool and
20   prudent step in the effort to stop and/or diminish the harm from the most egregious
21   homicidal rampages.
22          139. As the Fourth Circuit held in upholding Maryland’s assault weapons
23   ban in 2017: “the issue is whether the banned assault weapons and large-capacity
24   magazines possess an amalgam of features that render those weapons and
25   magazines like M16s and most useful in military service. The uncontroverted
26
27          111
               Koper, Christopher et al. (2017), Criminal Use of Assault Weapons and High-Capacity
     Semiautomatic Firearms: An Updated Examination of Local and National Sources, J Urban
28   Health (2018) 95:313–321, DOI 10.1007/s11524-017-0205-7.
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 1   evidence … is that they do.112 Indeed, the industry is constantly striving to find new
 2   ways to increase the lethality of their merchandise, so the notion that some
 3   threshold of “common use” erects a constitutional impediment that can obstruct
 4   governmental initiatives to promote citizen safety is wholly misguided. The ability
 5   and right of citizens to enact safety promoting measures designed to deal with the
 6   serious and growing problem of public mass shootings should not be affected by
 7   how quickly gun manufacturers can sell their products before regulations can be put
 8   into place.
 9          140. In 2016, fourteen-year old Jesse Osborne of South Carolina wanted to
10   top the death toll of Adam Lanza, and he made numerous attempts to get his
11   father’s assault weapon from a gun safe as he planned a school shooting at a nearby
12   elementary school. When that failed, he took his father’s loaded handgun from his
13   bed dresser and killed his father before heading to the school where he opened fire
14   on the playground, killing a 6-year-old boy before his gun jammed. As the Wall
15   Street Journal study referenced above found, a sizeable proportion of students aged
16   12-18 had access to firearms without adult permission. For students and others who
17   harbor homicidal fantasies similar to Jesse Osborne, the most powerful and deadly
18   weapons will be most helpful for their criminal designs.113
19          141. As stated above, an enormous source of guns used by teens in school
20   shootings come from the home and the ability to kill is greatly enhanced if the gun
21   at home is an assault weapon with a high-capacity magazine (see footnote 26,
22   above). Adam Lanza could not have made this point any more powerfully when he
23   used his mother’s assault rifle to kill 26 (also killing himself as the police closed
24   in). Of course, this is part of the larger problem of the enormous rates of gun thefts
25          112 Kolbe v. Hogan, (4th Circuit Court of Appeals, February 21, 2017),

26   https://cases.justia.com/federal/appellate-courts/ca4/14-1945/14-1945-2017-02-
     21.pdf?ts=1487707284.
              113 Tawnell D. Hobbs, “Most Guns Used in School Shootings Come From Home,” The
27
     Wall Street Journal, https://www.wsj.com/articles/in-school-shootings-most-guns-come-from-
28   home-1522920600, April 5, 2018.
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 1   in the United States each year – in the neighborhood of 400,000 stolen. The more
 2   assault weapons lying around in the home of law-abiding citizens, the more will be
 3   made available to criminals via these enormous rates of theft.
 4   142. My empirical evaluation of data through 2019 has emphasized that restrictions
 5   on high-capacity magazines are essential if one wants to reduce the risk of Las
 6   Vegas style killings that enable hundreds of individuals to be shot.114 The evidence
 7   that the federal assault weapons bans reduced deaths from public mass shootings is
 8   powerful and unrefuted.
 9   Threats to Civil Peace and to Democracy Itself
10   143. There is also a larger issue at stake with the proliferation of assault weapons:
11   their capacity to facilitate political violence and threaten American democracy. The
12   concern is heightened by the sharp rise in the percentage of Americans who think
13   that violence against the government could be appropriate, which doubled from 16
14   percent in 2010 to 34 percent in 2021 (over 40 percent of Republicans and
15   independents and 23 percent of Democrats agreed).115
16   144. The extent and severity of these concerns have been clarified by the events of
17   January 6, 2021, which I have written elsewhere has provided new insight into the
18   dangers of such weaponry and the utter folly of many of the claims of the gun
19   lobby:
20                  Consider the gun lobby protestation that “Gun control simply doesn’t
21                  work.” Imagine for a moment what that rally would have looked like
22                  in Houston, Texas, or some other “gun-friendly” jurisdiction. Without
23                  Washington, DC’s profoundly wise firearm restrictions [including its
24                  assault weapons ban], a very large number of the rioters would have
25
              114
                John Donohue and Theodora Boulouta, “The Assault Weapon Ban Saved Lives,”
26   Stanford Law School Legal Aggregate, October 15, 2019, https://stanford.io/2MWNsrV.
            115
                Meryl Kornfield and Mariana Alfaro, “1 in 3 Americans say violence against
27   government can be justified, citing fears of political schism, pandemic,” Washington Post,
     January 1, 2022, https://www.washingtonpost.com/politics/2022/01/01/1-3-americans-say-
28   violence-against-government-can-be-justified-citing-fears-political-schism-pandemic/.
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 1                 been marching on the U.S. Capitol armed with assault rifles equipped
 2                 with high-capacity magazines and other highly lethal weapons. When
 3                 the mob storming the Capitol spun out of control, guns would have
 4                 been flashing everywhere, and it is not hard to imagine that bullets
 5                 would have been cutting down scores or even hundreds of victims.
 6                 Those who remember the 1970 Kent State massacre understand that
 7                 once the bullets start flying in a riotous atmosphere, the consequences
 8                 quickly turn lethal and dire….
 9                          The pernicious Proud Boys leader Enrique Tarrio [now under
10                 indictment for seditious conspiracy],116 who had planned to address
11                 the crowd before the U.S. Capitol riot, was thankfully taken off the
12                 streets two days earlier when he was arrested for tearing down a
13                 Black Lives Matter banner on a Washington, DC, church and lighting
14                 it on fire. At the time of his arrest, Tarrio was carrying two high-
15                 capacity magazines festooned with the Proud Boys logo. Washington,
16                 DC’s wise prohibition on such unnecessary accoutrements to lethal
17                 weaponry managed to keep one conspiring criminal away from the
18                 U.S. Capitol on January 6, and thousands of others, knowing of
19                 Washington, DC’s strict gun laws, were dissuaded from carrying
20                 weapons because of these laws.
21                          [Moreover, the claim that assault weapons could protect
22                 American democracy is fanciful.] First, the thought that private gun
23                 owners could stand up to the modern U.S. military if it backed a
24                 tyrannical federal government is absurd. There is no circumstance in
25                 which private citizens in modern America could promote democracy
26                 by using assault weapons to kill government employees to show their
27          116
                 Hsu, Spencer (June 6, 2022). "Proud Boys leader Tarrio, 4 top lieutenants charged
     with seditious conspiracy in widening Jan 6 case". Washington Post.
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 1                  disapproval of what they perceive to be a “tyrannical” government.
 2                  Second, the idea that gun owners can be expected to oppose rather
 3                  than support the tyrant was dealt a fatal blow by the violence at the
 4                  U.S. Capitol.117
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 6
     Pursuant to 28 USC §1746, I declare under penalty of perjury that the foregoing is true and correct.
 7
 8     Executed on September 14, 2022
       at Stanford, California.
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                        _____________________________
12                      John J. Donohue

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               John Donohue, “Will the Supreme Court Avoid Further Self-Inflicted Second
27   Amendment Wounds?” Brennan Center for Justice (June 2021),
     https://www.brennancenter.org/sites/default/files/2021-06/Donohue_final.pdf.
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